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 1    Janine Jasso
      P.O. Box 370161
 2    El Paso, TX 79937
      Plaintiff, IN PRO PER
 3

 4

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 6

 7

 8                         UNITED STATES BANKRUPTCY COURT

 9            CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

10

11    In Re: JAMIE LYNN GALLIAN                   CASE NO. 8:21-bk-11710-ES

12    __________________________________          Chapter 7

13    JANINE JASSO, an individual,                Adversary No. 8:21-ap-01096-ES
14                 Plaintiff,

15          v.                                    SECOND AMENDED COMPLAINT FOR
                                                  DETERMINATION OF
16    JAMIE LYNN GALLIAN, an individual; J-       DISCHARGEABILITY AND OBJECTING
      PAD, LLC, a California Limited Liability    TO DEBTOR’S DISCHARGE PURSUANT
17    Company, J-Sandcastle Co LLC, a             TO SECTIONS 523 AND 727 OF THE
      California Limited Liability Company, and   BANKRUPTCY CODE
18    DOES 1 through 100, inclusive,

19                 Defendants.                    Status Conference
                                                  Hearing: February 14, 2023
20                                                Time: 1:30 p.m.
                                                  Ctrm:5C - Virtual
21                                                Location 411 W Fourth St., Santa Ana, CA
                                                  92701
22

23

24

25

26
     TO THE HONORABLE SCOTT CLARKSON, UNITED STATES BANKRUPTCY JUDGE,
27

28   DEFENDANT AND HER ATTORNEY OF RECORD, AND TO ALL INTERESTED

                                                  1
                         SECOND AMENDED COMPLAINT – ADVERSARY PROCEEDING
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 1   PARTIES:

 2   Plaintiff-Creditor JANINE JASSO (“Plaintiff” or “Creditor”), as and for her Complaint against
 3   Defendant-Debtor Jamie Lynn Gallian (the “Defendant” or "Debtor"), Defendant J-PAD, LLC
 4
     (“JP” or “JP LLC”) and Defendant J-SANDCASTLE CO LLC (“JSC” or “JSC LLC”)
 5   respectfully alleges as follows:
 6
                                    JURISDICTION AND VENUE
 7

 8   1.     On July 9, 2021, the Debtor filed a voluntary petition (“Petition") for relief under
 9   chapter 7 of Title 11 of the United States Code (the "Bankruptcy Code") in the United States
10
     Bankruptcy Court for the Central District of California. By virtue of the filing, Defendant has
11
     voluntarily subjected herself to the jurisdiction and venue of this Court. The United States
12
     Bankruptcy Court for the Central District of California, Santa Ana Division, is the proper
13

14   venue for this matter pursuant to 28 U.S Code § 1408, because the Debtor’s principal assets

15   were located in this district for one-hundred-and-eighty days immediately preceding

16   commencement of this action.
17   2.     The Debtor's first duly noticed meeting of creditors was held pursuant to Section
18
     341(a) of the Bankruptcy Code (the "Section 341 Meeting") was held on August 18, 2021.
19
     The Debtor’s Section 341 Meeting has been continued multiple times. A second meeting was
20
     held on October 14, 2021, a third meeting will be held on November 10, 2021, and a fourth
21

22   meeting was held on February 28, 2022.

23   3.     As of the date of this Complaint the Debtor has not been granted a discharge.

24   4.     This Complaint is timely because the date by which a Complaint objecting to the
25
     Debtor's discharge or to determine dischargeability of a debt expires on October 18, 2021. In
26
     Paragraph 4 of Dockets 4, 13, 14, 15, 16, 17, and 18, Debtor answered and admitted this
27
     allegation is true. On October 18, 2021, the Court filed Plaintiff’s original Complaint,
28
                                                      2
                           SECOND AMENDED COMPLAINT – ADVERSARY PROCEEDING
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 1   accepted Plaintiff’s filing fee and issued a Summons. The Court had the right to file Plaintiff’s

 2   Complaint on October 18, 2021. On or before January 10, 2023, the Court posted its tentative
 3
     ruling regarding Debtor’s motion for judgment on the pleadings, finding that the Debtor
 4
     admitted to the timeliness of the Complaint. At the hearing on January 10, 2023, the Debtor on
 5
     the record submitted on the tentative ruling thereby acknowledging her satisfaction with the
 6

 7   tentative ruling. As provided in Docket 104, both parties submitting on the January 10, 2023

 8   tentative ruling on the record, the Court’s tentative ruling became the Court’s final order which

 9   confirmed the timeliness of the Complaint and granted Plaintiff leave to amend the Complaint.
10
     Therefore, Plaintiff’s Complaint filed herein is timely.
11
     5.     This is an adversary proceeding in which the Plaintiff is objecting to the Debtor's
12
     discharge under Bankruptcy Code § § 727(a)(3), 727(a)(4), 727(a)(5) and is seeking a
13

14   determination as to the dischargeability of the debt owed by the Debtor to plaintiff under

15   Bankruptcy Code § § 523(a)(2)(A) and 523(a)(7). The Debtor answered and admitted this

16   allegation is true under Paragraph 5, Dockets 13-18.
17   6.     The Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. § 1334
18
     and Bankruptcy Code § § 523 and 727. The Debtor answered and admitted this allegation is
19
     true under Paragraph 6, Dockets 13-18.
20
     7.     Plaintiff’s claims are not core proceedings, and Plaintiff does not consent to the entry
21

22   of judgment on this claim by the bankruptcy court.

23                                              PARTIES

24   8.     Plaintiff is the Creditor in the above-captioned case and at all relevant times is a
25
     resident of Orange County, California. The Debtor answered and admitted this allegation is
26
     true under Paragraph 8, Dockets 13-18.
27

28
                                                      3
                           SECOND AMENDED COMPLAINT – ADVERSARY PROCEEDING
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 1   9.      Defendant is the Debtor in the above-captioned case and at all relevant times is a

 2   resident of Orange County, California. The Debtor answered and admitted this allegation is
 3
     true under Paragraph 9, Dockets 13-18.
 4
     10.     From October 18, 2018 through November 22, 2021, JP was at all relevant times an
 5
     active California single-member limited liability corporation wholly-owned and operated by
 6

 7   Defendant with a principal place of business of Debtor’s residential address, including, but not

 8   limited to, 16222 Monterey Lane, Space 376, City of Huntington Beach, Orange County, State

 9   of California. On November 22, 2021, Defendant, as JP’s sole member and per Defendant’s
10   March 16, 2022 Form 1007-4 Corporate Ownership Statement filed under penalty of perjury
11
     as Docket 29, filed a State of California Secretary of State Certificate of Cancellation
12
     terminating JP.
13
     11.     From October 18, 2018 through November 22, 2021, JSC was at all relevant times an
14

15   active California single-member limited liability corporation wholly-owned and operated by

16   Defendant with a principal place of business of Debtor’s residential address, including, but not
17   limited to, 16222 Monterey Lane, Space 376, City of Huntington Beach, Orange County, State
18
     of California. On November 22, 2021, Defendant, as JSC’s sole member and per Defendant’s
19
     March 16, 2022 Form 1007-4 Corporate Ownership Statement filed under penalty of perjury
20
     as Docket 29, filed a State of California Secretary of State Certificate of Cancellation
21

22   terminating JSC.

23   FACTUAL BACKGROUND

24           12.     Plaintiff at all relevant times mentioned herein, has been a homeowner, and
25   Board Member of The Huntington Beach Gables Homeowners Association (“Association”), and
26
     a Plaintiff in this action. Plaintiff also served as Vice President of the Board of Directors
27
     (“Board”).
28
                                                        4
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 1          13.       Debtor became the Sublessee of record of the property located at 4476 Alderport

 2   Drive, Unit 53, Huntington Beach, CA 92649 (“4476 Alderport”) on or about March 22, 2017,
 3
     by way of a recorded Assignment of Condominium Sublease (“Sublease”). The prior owner,
 4
     Sandra Bradley, was a member of the Association, Debtor’s landlord and widow of Debtor’s
 5
     former stepfather. The Debtor answered and admitted this allegation true under Paragraph 13,
 6
     Dockets 13-18.
 7

 8          14.       4476 Alderport is one of only 80 an air-space condominiums located within the

 9   Association. The Association is located within two miles of Sunset Beach and less than a mile

10   from Huntington Harbor. The Association is a very small, non-profit organization with very low

11   monthly dues. The residents are subject to a triple-net land lease, requiring owners to pay rent to

12   a separate landlord, BS Investors LLC, the property taxes and insurance. The Association is a

13   very close-knit community, where residents know their neighbors as their friends. The residents

14   take care of the inside of their condos and patios, and the Association maintains everything

15   outside, i.e. the common area.

16          15.     Only the Association and condominiums are located on the entire Orange County

17   real estate tract 10542. The Condominium Plan for the entire tract is recorded with Orange

18   County Recorder’s office as Book 13358 Page 1193, as Instrument No. 28814. See attached

19   Exhibit 1. No Rancho Del Rey mobile homes are located on the same real estate tract as the

20   Association.

21          16.     The Sublessee of every unit within the Association is subject to the provisions of

22   various governing documents, including but not limited to, the “Declaration of Covenants,

23   Conditions and Restrictions for The Huntington Beach Gables,” recorded on May 28, 1980 as

24   file/document number 80-28926 (“CC&Rs”), Rules and Regulations adopted by the Board on

25   August 26, 2003, and the Condominium Plan recorded on October 18, 1979 as Book 13358 Page

26   1193, as Instrument No. 28814. A true and correct copy of the CC&Rs is attached as Exhibit 2.

27          17.     The CC&Rs create and establish the Association as the governing body for the

28   management, administration, and operation of the Association. Civil Code section 5975,
                                                       5
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 1   subdivision (a) provides in part:

 2                  The covenants and restrictions in the declaration shall be
                    enforceable equitable servitudes, unless unreasonable, and shall
 3                  inure to the benefit of and bind all owners of separate interests in
                    the development.
 4
     The Debtor answered and admitted this allegation true under Paragraph 17, Dockets 13-18.
 5
            18.     The equitable servitudes contained on page 2 of the CC&Rs set forth the
 6

 7   owners’/sublessees’ obligations. As an owner/sublessee, Article III, Section 3 .1 of the CC&Rs

 8   required Debtor to abide by the covenants, conditions and restrictions set forth in the CC&Rs.

 9          19.     Debtor violated the governing documents in various ways by failing to adhere to
10   the architectural guidelines, maintenance standards, and specifications set forth in the CC&Rs
11   and creating a nuisance in the Association’s common areas. As a result, the Association receive
12   mounting homeowner complaints and demands that the nuisance activities be abated by the
13   Association.
14          20.     Despite the Association’s and Ms. Bradley’s numerous attempts to bring the
15   condominium into compliance with the CC&Rs, the Debtor refused to comply. Due to Debtor’s
16   refusal to comply, the Association began its enforcement lawsuit in April 2017 (“Enforcement
17   Lawsuit”) to enjoin the Debtor from her actions in the common area and recover damages.
18          21.     During the course of the Enforcement Lawsuit, the Debtor continued to refuse to
19   comply with the governing documents, doubled-down by increasing her unsafe nuisance
20   activities affecting all the residents in the common area, causing the homeowners to complain
21   even more about the Debtor and threaten litigation against the Board members. Her nuisance
22   activity in the common area caused the Association’s insurance and legal fees to increase as
23   well. As a result, the Court issued a temporary restraining order in September 2017 (“TRO”)
24   and a preliminary injunction in January 2018 (“PI”).
25          22.     As part of the TRO and PI legal proceedings against the Debtor, the Court
26   determined that Debtor was the owner of the condominium airspace parcel and that the
27   Association’s common area included all of the property in the Association exterior to the
28   condominium, from the walls of each condominium out. The Court ordered Debtor, and any of
                                                       6
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 1   her associates, employees, guests and tenants to comply with the TRO and preliminary

 2   injunction as well in order to protect the Association and its vendors from further harm.

 3          23.     The Debtor in apparent retaliation began trespassing, threatening, stalking,

 4   harassing, making false-accusations and bullying Plaintiff, the other Board members and family

 5   members, requiring the Association to obtain a Workplace Violence restraining order against

 6   Debtor. At the trial on the merits, the Court found that Debtor had targeted Plaintiff and other

 7   Board members and family members showing a pattern of conduct threatening the safety of all

 8   of the protected parties and issued a permanent Workplace Violence restraining order until July

 9   2022. In August 2022, the Court ordered the extension of the Workplace Violence restraining

10   order until July 2025.

11          24.     In March 2018, the Debtor violated the Workplace Violence restraining order

12   protecting Plaintiff and my then 7-year-old daughter. Under Criminal Case No. 18WM05278, a

13   criminal trial was held, and Debtor was convicted of two counts of Contempt of Court for

14   violating the Workplace Place Violence restraining order. After Debtor violated the Workplace

15   Violence Restraining Order, Plaintiff sought an additional personal restraining order on the

16   advice of the Huntington Beach Police Department. A separate permanent civil restraining order

17   protects Plaintiff and my family members until December 2023.

18          25.     In addition, during the course of the criminal case, a criminal protective order

19   was issued protecting Plaintiff and my daughter due to Debtor’s continuing threats against

20   Plaintiff. After Debtor’s conviction, the Criminal Court ordered Debtor to remain 100 yards

21   away from Plaintiff’s home, daughter and Plaintiff. And, shortly after the Debtor’s sentencing of

22   30 days in jail and 3 years of probation, Debtor was found guilty of violating her probation as a

23   result of the extortion letter she wrote to Plaintiff, a copy of which Debtor provided to the

24   Bankruptcy Trustee.

25          26.     Under state law, after a criminal Court restitution hearing on the merits regarding

26   Plaintiff’s claimed expenses related to the Debtor’s criminal conduct, the criminal Court ordered

27   criminal restitution in favor of Plaintiff, payment of which is a condition of Debtor’s court-

28   ordered probation. Shortly after, the Court issued an abstract of judgment and instructed Plaintiff
                                                       7
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 1   to record the abstract with the Orange County Recorder’s Office. A true and correct copy is

 2   attached as Exhibit 3.

 3           27.     The State of California’s restitution order in favor of Plaintiff is listed in

 4   numerous locations under Debtor’s Bankruptcy Schedules, including the October 14, 2021
 5
     amended schedules. The Debtor answered and admitted this allegation is true under Paragraph
 6
     27, Dockets 13-18.
 7
             28.     In a possible effort to increase confusion for the Bankruptcy Trustee about the
 8
     legitimacy of the criminal restitution judgment, the Debtor provided the Bankruptcy Trustee
 9

10   with a copy of Debtor’s fabricated court brief filed in multiple court cases in 2021. In it, Debtor

11   claims that Plaintiff and my daughter were not her victims, were not entitled to state victim
12   restitution, and that Plaintiff illegally recorded the restitution abstract of judgment issued by the
13
     Criminal Court as provided above. Plaintiff believes that Debtor may be projecting Debtor’s own
14
     fraud onto Plaintiff. To date, the Debtor’s claim has been denied in three different hearings by
15
     three different courts, including the California local Criminal court, the Criminal Appellate
16

17   Court and the Civil Court of Appeals for the 4th District. The Debtor answered and admitted this

18   allegation is true under Paragraph 28, Dockets 13-18.

19           29.     During the same time period, the Debtor cross-sued against the Plaintiff and the
20   other individual, volunteer Board members in the Association’s civil Enforcement Lawsuit.
21   After enduring false claims and defending Debtor’s out-of-control litigation tactics designed to
22   hurt people rather than prove a civil claim, Debtor lost her civil cross-claims on demurrer.
23   Debtor ultimately dismissed her suit against Plaintiff and the other Board members. Per the
24   governing documents and state law, known as Davis-Stirling, Plaintiff as a Board member was
25   entitled to attorney’s fees and costs for defending herself against the Debtor’s cross-suit in the
26   Enforcement Lawsuit.
27           30.     After a properly noticed motion for attorney’s fees on August 7, 2018, the Court
28   issued a tentative ruling on October 31, 2018 in favor of Plaintiff and the other Board members.
                                                         8
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 1   On November 1, 2018, the Court held its scheduled hearing and found in favor of Plaintiff and

 2   the other Board members on the merits, issuing a final order of $46,138 plus 10 percent interest

 3   per annum, on November 8, 2018. See attached Exhibit 4 which is a true and correct copy

 4   thereof. An Abstract of Judgment was issued and recorded at the Orange County Recorder’s

 5   office on December 14, 2018. Debtor appealed and lost on September 15, 2020, California 4th

 6   Appellate District Division 3, Case No. G058198.

 7          31.     On or about October 17, 2018, Debtor’s landlord, BS Investors, filed its unlawful

 8   detainer suit against Debtor after notifying Debtor in August 2018 that she was being evicted for

 9   nonpayment of the HOA’s special assessments, which resulted in Debtor defaulting on her

10   condominium sublease.

11          32.     On October 18, 2018, Debtor created her ownership interest in JP. Debtor

12   provided documents to the Bankruptcy Trustee demonstrating her efforts to transfer the

13   condominium’s defaulted sublease to her own LLC prior to transferring the sublease to Mr.

14   Nickel. On October 30, 2018, Ms. Gallian and Mr. Nickel tried to transfer the condo from JP to

15   Mr. Nickel. There was no purchase agreement, escrow or title policy.

16          33.     On or before November 1, 2018, the Debtor disclosed to Mr. Nickel that an

17   unlawful detainer action was instituted by Debtor’s landlord, BS Investor, for defaulting on her

18   condominium sublease.

19          34.     Mr. Nickel’s emails to Debtor in 2020 show that Mr. Nickel had no information

20   regarding any checks he gave to Debtor for the purported purchase of the condominium.

21          35.     In the Debtor’s 341 hearing and documents provided by the Debtor to the

22   Bankruptcy Trustee, the Debtor claimed she rescinded the transfer of the condominium from JP

23   to Mr. Nickel on October 31, 2018 and recorded Debtor’s new, concealed transfer of her

24   defaulted sublease to Mr. Nickel for no consideration, no transfer taxes paid and without a

25   purchase agreement, escrow or title policy.

26          36.     Per the Debtor’s documents provided to the Bankruptcy Trustee and Debtor’s

27   statements in the 341 hearings, Debtor received $379,000 in cashier’s checks from Mr. Nickel
28
     on October 30, 2018 payable to JP and then another set of cashier’s checks from Mr. Nickel to
                                                    9
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 1   the Debtor on October 31, 2018 totaling $379,000. The Debtor answered and admitted this

 2   allegation is true under Paragraph 36, Dockets 13-18.
 3
              37.   Debtor never provided any bank statements proving Debtor or her alter ego, JP,
 4
     returned funds to Mr. Nickel. The Debtor answered and admitted this allegation is true under
 5
     Paragraph 37, Dockets 13-18.
 6
              38.   California law provides a 4 year look back period, but the Debtor has refused to
 7
     provide the creditors with her 2018-2019 personal and LLC bank statements tracing the funds.
 8
              39.   The Debtor provide the Bankruptcy Trustee with emails between the Debtor and
 9

10   Mr. Nickel starting October 31, 2018 through September 2020. The Debtor answered and

11   admitted this allegation is true under Paragraph 39, Dockets 13-18.
12            40.   These emails show that in 2018, the Debtor knew she was legally responsible for
13   all seller disclosures, and referred to her Mr. Nickel as a very savvy investor after Debtor
14   recorded her purported transfer of the sublease. The emails show that the Debtor and Mr. Nickel
15   knew that the Debtor had defaulted on the sublease and was being evicted by the landlord of the
16   condominium. And, in September 2019, the emails show Mr. Nickel investigating Debtor’s
17   outstanding debts on the condominium 4476 Alderport.
18            41.   The emails show Mr. Nickel and the Debtor lied in their ongoing civil lawsuit
19   against Plaintiff by claiming an escrow agent sent the HOA an escrow demand, when Debtor
20   admittedly sent the fabricated HOA escrow demand. The same email further shows that Debtor
21   lied to Mr. Nickel about paying her outstanding HOA regular and special assessments, falsely
22   stating that Debtor had a credit balance on her HOA account on October 31, 2018. Finally, the
23   same email shows the Debtor advising Mr. Nickel, in 2019 months after the purported transfer of
24   the condominium sublease, to obtain a preliminary title report for the condominium and “tuck it
25   away”.
26            42.   The emails show Mr. Nickel requesting information after the purported purchase
27
     of the condominium for documents proving Debtor’s liens were released prior to the transfer of
28
                                                       10
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 1   the defaulted sublease. From what Plaintiff could ascertain from the Orange County Recorder’s

 2   office, no release has been recorded for at least one of Debtor’s recorded debts that attached to
 3
     the condominium in 2017. The Debtor answered and admitted this allegation is true under
 4
     Paragraph 42, Dockets 13-18.
 5
              43.    On or about October 18, 2018, Debtor and Mr. Anthony Calderon began jointly
 6
     owning JP LLC or Debtor became the sole owner of JP LLC. See California Secretary of State
 7
     Statement of Information for JP dated October 18, 2018 attached as Exhibit 5 which is a true
 8
     and correct copy thereof. Shortly thereafter, according to Debtor’s documents provided to the
 9
     Bankruptcy Trustee, Mr. Nickel apparently gave Debtor’s alter-ego, JP LLC, $379,000 on
10
     October 30, 2018.
11
              44.    On or about October 18, 2018, Debtor created the real estate investment company
12
     called JSC. In her 341 hearings, Debtor stated that JSC is and has been always wholly owned by
13

14   Debtor. The Debtor answered and admitted this allegation is true under Paragraph 44, Dockets

15   13-18.
16   45.      On or about November 16, 2018, the Civil Court in the Enforcement Lawsuit ordered an
17
     Abstract of Judgment against Debtor for failing pay the court-ordered sanctions related to
18
     Court’s finding that the Debtor would not comply with the civil settlement with the HOA and
19
     Board members, and therefore was required to comply with discovery. A true and correct copy
20

21   of the Court’s September 2018 Order Granting the Association’s Motions to Compel Discovery

22   and the Court’s Abstract of Judgment for the unpaid sanctions are attached as Exhibit 6.      The

23   Debtor answered and admitted this allegation is true under Paragraph 45, Dockets 13-18.
24            46.    Debtor provided the Bankruptcy Trustee with copies of the front of four cashier’s
25
     checks payable to Lisa Ryan on November 16, 2018 drawn on Debtor’s personal Chase checking
26
     account. The Debtor answered and admitted this allegation is true under Paragraph 46, Dockets
27
     13-18.
28
                                                      11
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 1          47.     Debtor stated in her 341 hearing that she gave Lisa Ryan $10,000 cash on or

 2   about November 16, 2018 and paid some of Ms. Ryan’s debts from Debtor’s personal Alliant
 3
     checking or savings account. The Debtor answered and admitted this allegation is true under
 4
     Paragraph 47, Dockets 13-18.
 5
            48.     From what Plaintiff could ascertain, on or around November 1, 2018, JSC LLC
 6
     became the title owner of Lisa Ryan’s mobile home located at 16222 Monterey Lane, Space 376,
 7
     in the Rancho Del Rey Mobile Home Park pursuant to a purported, concealed sale without a
 8
     purchase agreement at a time when Ms. Ryan claimed in an online fundraiser that Houser Bros
 9
     Co. owned Ms. Ryan’s mobile home.
10
            49.     Debtor has not provided copies of any personal Chase or Alliant bank statements
11
     related to 2018-2019 proving her claimed payments to Ms. Ryan or on behalf of Ms. Ryan.
12
            50.     Debtor provided documents to the Bankruptcy Trustee asserting that in or about
13
     2018, Debtor lent JSC $225,000 to be paid back to her alter-ego JP LLC. These documents
14
     appear to be missing signatures and dates. Furthermore, Debtor stated in her first 341 hearing
15
     that no loan payments were ever made on this purported loan, and there appear to be no
16
     documentation of any loan payments.
17
            51.     On or about October 18, 2018, Debtor also created another real estate investment
18
     company called Alderport 4476 Co LLC that was owned jointly by JP LLC and JSC LLC.
19
     52.    On or about January 14, 2019, and after the Association’s and the Plaintiff’s recorded
20
     court judgments, Debtor filed on behalf of JP, a UCC lien against both Debtor herself and her
21

22   JSC, UCC Financing Statement Document Number 76027030002/Filing Number 19-

23   7691905279, thereby putting a purported UCC lien on the JSC mobile home asset, in favor of
24   Debtor’s and Mr. Calderon’s joint JP real estate investment company. No financing statement or
25
     trust deed was recorded in the Orange County Recorder’s office for this purported lien. The
26
     Debtor answered and admitted this allegation is true under Paragraph 52, Dockets 13-18.
27
     53.    On or about January 14, 2019, after filing the UCC lien above, Debtor filed a second
28
                                                     12
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 1   UCC lien Document Number 76027940003/Filing Number 19-7691916827, on behalf of herself

 2   putting a lien on JSC only in favor of Debtor and JP, and assigning her rights as a secured party
 3
     to JP. This UCC Financing Statement was provided to the Bankruptcy Trustee on October 14,
 4
     2021. No financing statement or trust deed was ever recorded in the Orange County Recorder’s
 5
     office for this purported lien. The Debtor answered and admitted this allegation is true under
 6
     Paragraph 53, Dockets 13-18.
 7

 8   54.    On or about January 19, 2019, the State of California Department of Housing and

 9   Community Development (“HCD”) registered the title of the mobile home in the name of JSC,
10   with a purchase price of $175,000 paid on November 1, 2018. In her continued 341 hearing, Ms.
11
     Gallian stated that she submitted the change of ownership request on November 16, 2018 in the
12
     HCD office in Riverside. The Debtor answered and admitted this allegation is true under
13
     Paragraph 54, Dockets 13-18.
14

15   55.    On or about January 31, 2019, the Court heard the Association’s motion for terminating

16   sanctions in HOA Enforcement Lawsuit. The Court ruled in favor of the Association due to

17   Debtor’s continued refusal to comply with court-ordered discovery and failure to pay court-
18   ordered sanctions. On May 6, 2019, default judgment was entered in favor of the Association for
19
     over $300,000. The abstract of judgment was recorded with the Orange County Recorder’s
20
     office in May 2019. The Debtor answered and admitted this allegation is true under Paragraph
21
     55, Dockets 13-18.
22

23   56.    The Debtor appealed the judgments. In Debtor’s appellate opening brief, the Debtor

24   stated that rather than pay the judgments she owed, Debtor sold the condo to Mr. Nickel. The

25   Debtor’s appeal of the Association’s judgment was dismissed in June of 2020. The Debtor
26
     answered and admitted this allegation is true under Paragraph 56, Dockets 13-18.
27
            57.     On or about February 26, 2019, Debtor and JSC became the joint owners of JP.
28
                                                      13
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 1   See California Secretary of State Statement of Information dated February 26, 2019 attached as

 2   Exhibit 7 which is a true and correct copy thereof. As of result of this change of ownership of

 3   this LLC, Debtor owned JSC’s assets and all of JP’s assets.

 4           58.    On or about January 8, 2020, Robert McClelland, a person Debtor lived with for

 5   many years in the Association, became the sole owner of JP. See California Secretary of State

 6   Statement of Information dated January 8, 2020 attached as Exhibit 8 which is a true and correct

 7   copy thereof. The transfer of ownership appears to be without consideration.

 8           59.    On or about January 29, 2020, JP and family members of Debtor became owners

 9   of JSC and Debtor was removed as an owner. See California Secretary of State Statement of

10   Information dated January 29, 2020 attached as Exhibit 9 which is a true and correct copy

11   thereof.

12           60.    On or about July 23, 2020, Plaintiff filed a UCC judgment lien regarding the

13   Plaintiff’s recorded, civil abstract of judgment for attorney’s fees and costs. Debtor provided a

14   copy of the UCC judgment lien to the Bankruptcy Trustee.

15           61.    In apparent retaliation for the filing of the UCC lien, Debtor used her personal

16   account funds to pay HCD to add her husband and JP as legal owners of the mobile home, and

17   added language regarding Debtor’s unrecorded, back-dated personal and JSC UCC lien on the

18   mobile home HCD title document, fabricating evidence of a loan between Debtor and JSC for

19   which Debtor admitted no repayment has ever been made.

20           62.    Debtor stated that in August 2020 she added her husband, Ron Pierpont and JP as

21   legal owners of the mobile home and adding a lien that she claims had been perfected against the

22   mobile home in favor of JP LLC, which appeared to be solely owned by Robert McClelland.

23           63.    At the 341 hearings, Debtor stated JSC and Debtor have always been one and the

24   same.

25           64.    In May 2021, Plaintiff filed a UCC lien for the criminal restitution Abstract of

26   Judgment against the Debtor.

27           65.    On or about July 8, 2021, Debtor refused to comply with the court-ordered

28   debtor’s examination in civil Court and the attached request for production of documents related
                                                      14
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 1   to the Debtor’s financial condition. A warrant was issued for her arrest and the Debtor

 2   immediately filed for this Chapter 7 bankruptcy protection. The Debtor answered and admitted
 3
     this allegation is true under Paragraph 65, Dockets 13-18.
 4
            66.     On or about August 2021, Debtor changed the registered owner of the mobile
 5
     home to herself and continued to show the JSC loan and lien against the asset held by her alter-
 6
     ego JP LLC. Debtor also stated in her 341 hearings that she owned one-third (1/3rd) of the JP,
 7
     and then stated she owned one-seventh (1/7th) and then stated she owned seventy percent (70%).
 8
     After Plaintiff’s months of discovery, Debtor filed a corporate ownership statement claiming
 9
     100% ownership since 2018 of her alter-ego, single member JP LLC (Docket 29).
10
            67.     On September 7, 2021, Debtor claimed in her Bankruptcy schedules that she
11
     became the new registered owner of the JSC mobile home via a new HCD registration of title
12
     that she filed on behalf of JSC, and back-dated the change of ownership to February 25, 2021.
13

14   The Debtor answered and admitted this allegation is true under Paragraph 67, Dockets 13-18.

15          68.      On or about September 12, 2021, after filing for Bankruptcy, Debtor began filing
16   a series of new UCC filings showing numerous family and friends financing liens against the
17   mobile home or any other assets owned by JSC, and Debtor’s ownership interest in J-Sandcastle
18   Co appears to have changed several times with the addition and subtraction of family and friends
19   in 2020 and 2021. No liens or title changes were recorded with the Orange County recorder’s
20   office, or the Secretary of State related to these purported UCC liens.
21          69.     On or about October 14, 2021, Debtor filed amended schedules for the second
22   time, claiming personal ownership of the JSC mobile home and the landlord’s ground
23
     underneath the mobile home in fee simple. This appears to be a lie. If true, the mobile home
24
     value would necessarily increase in value to well over $900,000 based on recent sales of single
25
     homes adjacent to JSC’s mobile home. The Debtor answered and admitted this allegation is true
26

27   under Paragraph 69, Dockets 13-18.

28          70.     In addition, Debtor claimed in her 341 hearing and in documents provided to the
                                                      15
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 1   Bankruptcy Trustee that she has a monthly rental agreement with Houser Bros Co., dba Rancho

 2   Del Rey Mobile Home Park. Per Houser Bros Co. adversary complaint, Houser Bros Co.

 3   instituted legal action against Debtor for unlawful detainer in the Orange County Superior Court

 4   Case No. 30-2019-01041423-CL-UD-CJC, which provides that Debtor does not have a legal

 5   lease agreement. Further Debtor’s bank records show there is has been no payment of rent to

 6   Houser Bros Co. for the space 16222 Monterey Lane, Space 376, on which JSC’s mobile home

 7   sits.

 8           71.    For financial records, California provides a four year look back period in

 9   bankruptcy court and ten years when the Internal Revenue Service is a creditor in a bankruptcy

10   proceeding.

11           72.    In October 2021, Debtor provided some Bank of America and Chase 2020 and

12   2021 bank statements to the Bankruptcy Trustee for JSC and JP and one new personal Bank of
13
     America checking account. Importantly, JSC and JP LLC bank statements show payments of
14
     Debtor’s personal items and personal withdrawals, like a personal bank account. In addition, the
15
     statements show Debtor’s personal funds deposited into these same LLC bank accounts. Finally,
16

17   the best the Plaintiff could ascertain is that one of the Debtor’s personal bank accounts paid the

18   2020 annual Franchise Tax Board tax debt required for LLC corporations. The Debtor answered

19   and admitted this allegation is true under Paragraph 72, Dockets 13-18.
20           73.    In 2019, the Association received notice that the Bank of Account had been
21
     closed shortly after the notice of the Association’s bank levy on this account. The Debtor has
22
     failed to provide the creditors with copies of her monthly statements for her personal Bank of
23
     America bank account in the last four digits #0827 from January 2018 through the close of this
24

25   personal bank account.

26           74.    Although the Debtor provide some 2020-2021 personal and business bank

27   statements to the Bankruptcy Trustee, the Debtor has not provided personal bank statements

28   starting January 2018 for her Alliant credit union bank accounts, her new Bank of America bank
                                                      16
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 1   account with the last 4 digits ending in #7357, her Chase personal bank account from which she

 2   gave money to Lisa Ryan, her Fidelity investment account, or her United Airlines Group

 3   Universal Life policy account, which are all relevant to the judgment debts Debtor incurred in

 4   2018 and shortly thereafter.

 5           75.     One of Debtor’s JSC LLC Chase checking accounts shows that in 2020 Debtor

 6   deposited personal funds from her Fidelity account into this JSC Chase account. It also shows

 7   that Debtor paid her personal Target and cell phone bills from the JSC Chase bank account. It

 8   also shows that Debtor transferred JSC monies to JP and to Debtor’s personal Fidelity account

 9   and Alliant credit union account. Further, Debtor withdrew $16,000 of cash on the date she filed

10   this bankruptcy petition, which was also the day after the Civil court issued a warrant for her

11   arrest for failure to sit for her debtor’s examination, and made personal withdrawals after the

12   bankruptcy petition was filed.

13           76.     The Debtor has listed the Plaintiff’s criminal restitution judgment lien in various

14   forms including as a secured creditor.

15           77.     The Debtor has listed the Plaintiff’s civil judgment lien in various forms

16   including as a secured creditor.

17                                         FIRST CAUSE OF ACTION

18                     FOR ORDER DENYING DISCHARGE OF DEBTOR’S FIRST

19                    CRIMINAL RESTITUION JUDGMENT OWED TO PLAINTIFF

20                       PURSUANT TO 11 U.S. CODE § 523(a)(7) (GOVERNMENT

21                  (Against JAMIE LYNN GALLIAN and DOES 1 Through 100)

22           78.     Plaintiff incorporates the previous paragraphs of this Complaint as if set forth in

23   full.

24           79.     Under 11 U.S. Code § 523(a)(7), a debt is not dischargeable “to the extent such

25   debt is for a fine, penalty, or forfeiture payable to and for the benefit of a governmental unit”.
26
     The Debtor answered and admitted this allegation is true under Paragraph 79, Dockets 13-18.
27
             80.     The US Supreme Court determined that this statute applied to state criminal
28
                                                       17
                            SECOND AMENDED COMPLAINT – ADVERSARY PROCEEDING
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 1   restitution orders in Chapter 7 bankruptcy proceedings. See Kelly v. Robinson (1986) 479 U.S.

 2   36.

 3           81.     As detailed above, because the first debt owed to Plaintiff is ordered by the State

 4   of California for criminal restitution and judgment to be paid by Debtor to Plaintiff, as part of

 5   Debtor’s criminal sentence and a condition of her probation, the State of California’s restitution

 6   order in favor of Plaintiff and Plaintiff’s related restitution judgment lien is not dischargeable in

 7   bankruptcy.

 8                               SECOND CAUSE OF ACTION

 9                 FOR ORDER DENYING DISCHARGE OF DEBTOR’S SECOND

10                            CIVIL JUDGMENT OWED TO PLAINTIFF

11                 PURSUANT TO 11 U.S. CODE § 523(a)(2)(A) (ACTUAL FRAUD)

12                  (Against JAMIE LYNN GALLIAN and DOES 1 Through 100)

13           82.     Plaintiff incorporates the previous paragraphs of this Complaint as if set forth in

14   full.

15           83.     Under 11 U.S. Code § 524(a)(2)(A), Plaintiff’s civil judgment debt, attached as

16   Exhibit 4, is nondischargeable as it results from Debtor’s intentionally fraudulent litigation

17   which was an immoral, fraudulent debt Debtor incurred, like Debtor’s many years of targeting

18   people and entities for her pro per false and out-of-control litigation. Debtor targeted Plaintiff

19   by intentionally filing a fabricated indemnification cross-claim against Plaintiff for Debtor’s

20   liability under the Association’s Enforcement Lawsuit as detailed in Paragraphs 12-29, supra.

21   Debtor’s false cross-claims were designed to hurt Plaintiff rather than prove a legitimate claim.

22   Defendant acted fraudulently by intentionally and falsely claiming Plaintiff owned Debtor’s

23   4476 Alderport condominium and that Plaintiff was responsible for Debtor’s actions in violation

24   of the recorded governing documents. As provided in Paragraph 13, supra, Debtor admitted

25   Debtor was the owner of the condominium starting March 22, 2017. In September 2017, as part

26   of the court’s order imposing a restraining order against Debtor, the state court found that Debtor

27   was the owner of the 4476 Alderport condominium Sublease, making the Debtor the legal

28   sublessee of the condominium subject to the CC&Rs, the Condominium Plan and the
                                                        18
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 1   condominium sublease. Debtor’s fraudulent claims caused Plaintiff to defend herself against

 2   Debtor in reliance on state law and the recorded governing documents that provided Plaintiff

 3   with a continuous, ongoing lien on the 4476 Alderport condominium. The civil court gave

 4   Debtor several opportunities to amend her complaint to remove Debtor’s lies and false claims

 5   against Plaintiff, but Debtor did not and instead doubled-down on her intentional harm by

 6   destroying the Association’s common area, as well as stalking and threatening Plaintiff and my

 7   family. In addition, days before Plaintiff’s attorney filed a motion for attorney’s fees in

 8   accordance with the CC&Rs and state law, Debtor pretended to settle the Enforcement Lawsuit

 9   with the HOA, the Plaintiff and the other Board members. Plaintiff relied on Debtor’s false

10   representation that Debtor intended to comply with the terms of the settlement, postponing

11   Plaintiff’s motion in reliance on Debtor’s settlement representations. After Debtor’s refusal to

12   live up to the terms of the settlement, Debtor used her false settlement representation to cause

13   Plaintiff to incur additional attorney’s fees. Exhibit 4 is the civil judgment attorney’s fees

14   awarded to Plaintiff on November 1, 2018 and on November 8, 2018 against Debtor which was

15   affirmed on appeal. The state court found that Debtor’s arguments against Plaintiff’s motion due

16   to timeliness were invalid because of Plaintiff’s good faith efforts to settle with Debtor. The

17   appellate court agreed with the state court, finding Debtor’s tactics a red herring. The state court

18   and appellate court found that the attorneys fees award was valid under California’s HOA law

19   and the Association’s governing documents. Under Articles 5 and 14 of the CC&Rs, Debtor

20   provided Plaintiff and the Association with an ongoing continuance lien the 4476 Alderport

21   condominium due to Debtor’s fraudulent cross-suit pinning Debtor’s ownership of the 4476

22   Alderport condo Sublease and her violations of the recorded governing documents on Plaintiff,

23   the other Board members and the Association.

24           84.     Under 11 U.S. Code § 524(a)(2)(A), the U.S. Supreme Court determined that the

25   definition of “actual fraud” encompasses fraudulent transfer schemes engaged in by the Debtor

26   and her related or affiliated single member LLCs, JP and JSC, to shield assets that could be

27   utilized to satisfy debts of creditors. See Husky International Electronic, Inc. v. Ritz (2016) 578

28   U.S. 356, 359, 136 S. Ct. 1581, 1586, 194 L. ED. 2d 655 (“Husky International”). Fraud is
                                                       19
                            SECOND AMENDED COMPLAINT – ADVERSARY PROCEEDING
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 1   actual if it impairs the creditor’s ability to collect the debt or if the debtor intended by the

 2   transfer to hinder his creditors. In re Wigley, 15 F.4th 1208, 1211 (8th Cir. 2021).

 3           85.      Just like in Husky International, Debtor owed the judgment debts she created by

 4   making intentionally false lawsuits against Plaintiff, the Board and the Association under the

 5   Association’s governing documents. Within four years of the Petition date, and while so

 6   indebted to Plaintiff and other creditors, Debtor’s fraudulent transfer scheme began with

 7   Debtor’s concealed transfer of Debtor’s condominium located at 4476 Alderport, Unit 53 on

 8   without paying the liens Debtor created in favor of Plaintiff and the other creditors. The

 9   transferee, Mr. Nickel, a real-estate flipper with significant experience with buying, selling and

10   living in California HOAs, knew everything about the ongoing Enforcement Lawsuit, the

11   Association’s judgments and the Plaintiff’s imminent award of attorney’s fees under the

12   Enforcement Lawsuit at the time of the transfer of 4476 Alderport. Debtor hid the concealed

13   transfer, hid Mr. Nickel’s identity and falsely claimed to be indigent after the transfer. As

14   provided in Paragraph 56, supra, Debtor admitted that instead of paying her judgment debts,

15   Debtor transferred the condominium to Mr. Nickel. Therefore, Debtor’s actions were done with

16   actual intent to hinder, delay or defraud Plaintiff and Debtor’s other creditors.

17           86.     Debtor, within four years of the Petition date, and with the actual intent to hinder,

18   delay and defraud her creditors, created JSC LLC and JP LLC as her alter-ego wholly owned,

19   single member limited liability companies shortly before the transfer of 4476 Alderport to Mr.

20   Nickel. Debtor used her JSC LLC and JPS LLC to conceal and drain funds, including the funds

21   Debtor received from Mr. Nickel. The following examples include, but are not limited to:

22                   1. On or about October 30, 2018 and October 31, 2018, Debtor received

23                       concealed cashier’s checks from Mr. Nickel totaling at least $379,000, most

24                       of which Debtor concealed by depositing or transferring approximately

25                       $355,000 into Debtor’s newly created JSC LLC Chase account ending in

26                       #7860 via stacks of cashier’s checks without first paying her debts owed to

27                       Plaintiff and other creditors. Debtor claimed in her 341 hearings that she

28                       purchased the mobile home with her own money and then transferred
                                                        20
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 1                  $175,000 of the $379,000 to JSC LLC as a purported loan. She made these

 2                  false statements when she knew she transferred nearly double that amount to

 3                  her alter-ego JSC LLC. Debtor never received anything in exchange for her

 4                  deposits into her JSC LLC bank account. Debtor eventually admitted JSC

 5                  LLC never operated as a business under Debtor’s Corporate Ownership

 6                  Statement filed on March 16, 2022 under Docket 29.

 7               2. Within days of the above transfer transfers, Debtor caused JSC LLC to

 8                  transfer $150,000 from JSC LLC to Lisa Ryan for the purported concealed,

 9                  purchase of the mobile home, located at 16222 Monterey Lane Space 376,

10                  Huntington Beach, CA. Debtor admitted in her 341 hearing on October 14,

11                  2021 that there was no purchase agreement. As part of her fraudulent

12                  conveyance scheme, Debtor lied to the Trustee, Plaintiff and the other

13                  creditors by providing the front copies of four cashier’s checks payable to

14                  Lisa Ryan totaling $170,000 and claimed that she paid Lisa Ryan $180,000

15                  via the four personal cashier’s checks totaling $170,000 plus an additional

16                  $10,000 in cash. Debtor’s intended to hinder, delay or defraud creditors by

17                  hiding $355,000 of collectible funds in JSC LLC, transferring three JSC LLC

18                  cashier’s checks totaling $150,000 to Lisa Ryan in a concealed transfer and

19                  then lying about giving Lisa Ryan personal cashier’s checks and further lied

20                  by failing to tell the Trustee, Plaintiff and the other creditors that Debtor kept

21                  the fourth JSC LLC $20,000 cashier’s check in Lisa Ryan’s name and

22                  deposited it into Debtor’s personal account. There is no evidence that Lisa

23                  Ryan received $10,000 in cash from Debtor. Debtor further claimed in her

24                  initial 341 hearing that she used $113,000 for payments of her personal

25                  attorney’s fees. However, Debtor never provided any verifiable

26                  documentation proving these listed payments to attorneys, including those on

27                  subsequent amended Schedule 107 filed in Debtor’s Main Case No. 8:21-bk-

28                  11710-SC (“Main Case”) Schedule 107, DK 1 Item 16, Schedule 107, DK
                                                   21
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 1                  15, DK 16, DK 37, DK 38, DK 72 Item 18. In fact, Plaintiff found one

 2                  $7,000 payment to attorney Michael Devereux who refunded $7500 back to

 3                  Debtor. Based on Plaintiff’s discovery, Debtor only paid approximately

 4                  $30,000 of her JSC LLC’s cash for Debtor’s legal fees and approximately

 5                  $2800 for court transcript/record fees. Debtor used JSC LLC funds for

 6                  personal expenses such as car lease payments, cell phone bills, restaurants

 7                  bills, hair salon, personal credit card payments, McDonald’s, Starbucks,

 8                  groceries, 401k loan payments, and criminal court fines. Debtor never paid

 9                  any rent, water, trash, electricity or gas bills, as she appears to have been

10                  squatting in the Rancho Del Rey mobile home park since December 1, 2018.

11                  Plaintiff could not account for approximately $24,000 of cash withdrawn by

12                  Debtor from the $379,000 of Mr. Nickel’s October 18, 2018 cashier’s checks.

13                  Plaintiff could also not account for approximately $100,000 of cash that was

14                  withdrawn in cashier’s checks or cash. Debtor also appears to have lied about

15                  payments of approximately $80,000 to attorneys in order to hinder, delay or

16                  defraud Plaintiff and her other creditors.

17               3. Debtor intentionally lied to the Trustee and the creditors claiming that she

18                  transferred the mobile home from JSC LLC to herself via a purported pre-

19                  petition, notarized, and back-dated transfer on February 25, 2021. However,

20                  on or about April 20, 2021, prior to the Petition date, Debtor sat for her

21                  deposition in the Association CUVTA collection case and testified that JSC

22                  LLC was an ongoing business and was the title owner of the mobile home on

23                  April 20, 2021. Further, the Debtor’s purported notarization of the February

24                  25, 2021 transfer was also a lie. These lies were intended by Debtor to hinder,

25                  delay or defraud Plaintiff and other creditors from collecting the debt from

26                  Debtor’s assets.

27               4. In May 2019, Debtor transferred $96,000 from Debtor’s JSC LLC Chase

28                  account ending in #7860 to Debtor’s personal Fidelity IRA account #169-
                                                   22
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 1                  638064, when Debtor claimed to be indigent in California’s criminal court

 2                  case 18WM05278 against the Debtor for violating the workplace violence

 3                  protection order protecting Plaintiff and my then 7-year-old daughter. While

 4                  concealing Debtor’s funds available to creditors in her Fidelity IRA account,

 5                  Debtor claimed indigency to obtain a public defender. In August 2019, after

 6                  the criminal court appointed a public defender for Debtor, Debtor transferred

 7                  approximately $89,373.62 back to her JSC LLC. Debtor then transferred

 8                  approximately $75,000 from Debtor’s JSC LLC to Debtor’s new JP LLC

 9                  Bank of America bank account ending in #1274, which Debtor used to pay

10                  her criminal bail, totaling $13,500, and other personal expenses and debts,

11                  including but not limited to restaurants, Macy’s, cash withdrawals of over

12                  $40,000, Subway, hair salon, Jack N the Box, her personal Capitol One credit

13                  card, her personal Alliant Visa card and personal court cost. Debtor then

14                  intentionally falsely claimed $7400 on her original bankruptcy Petition and

15                  multiple filed amendments on Schedule A/B Item 21, Main Case DK 1, DK

16                  16, DK 22, DK 37, DK 38, DK 39, DK 72, when Debtor knew that all but

17                  $75.89 of the Fidelity IRA funds came from Debtor’s $96,000 transfer from

18                  her JSC LLC Chase account #7860 to her Fidelity IRA rollover account.

19                  Therefore, Debtor intentionally lied on her bankruptcy schedules about non-

20                  exempt personal assets she held in her personal Fidelity IRA in order to

21                  hinder, delay and defraud Plaintiff and the other creditors.

22               5. On July 27, 2020, within 1 year prior to the bankruptcy petition date, Debtor

23                  took a taxable distribution of her United Airlines 401k plan account balance

24                  held by Fidelity in the amount of $14,002.53, which immediately changed the

25                  qualified retirement plan money to Debtor’s personal cash assets. Debtor

26                  transferred and hid the $14,002.53 directly into the Debtor’s JSC LLC Chase

27                  #7860 account. Debtor did not receive anything for the cash transferred to

28                  JSC LLC. Debtor originally scheduled $31,922.58 as retirement plan income
                                                  23
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 1                  within the previous two years on Main Case DK 1, Schedule 107, Part 2, Item

 2                  5. After the original Schedule 107, Part 2, Item, Debtor testified under oath in

 3                  her August 18, 2021 initial 341 hearing that the $31,922.58 was related to a

 4                  defaulted 401k loan, which, if true, would have solely been a taxable

 5                  withdrawal “on paper” without any actual money distributed to Debtor.

 6                  Debtor never explained that approximately $14,000 was distributed in cash to

 7                  her JSC LLC Chase #7860 account at her directions. Debtor’s Fidelity 401k

 8                  plan records as wells as Debtor’s Defendant JSC LLC July 2020 bank

 9                  statements clearly shows that Debtor lied on Main Case, DK 1, DK 15, DK

10                  16, DK 38, DK 72, Schedule 107, Part 2, Item 5. Debtor intentionally lied

11                  about her transfer of personal $14002.53 funds to her alter-ego JSC LLC in

12                  order to hinder, delay and defraud Plaintiff and her other creditors.

13               6. Debtor transferred $355,000 to her alter-ego JSC LLC. Debtor testified that

14                  she deposited $175,000 into her alter-ego JSC LLC. Debtor testified in her

15                  341 hearing that she loaned $225,000 to her alter-ego JSC LLC. Debtor gave

16                  the Trustee and creditors unsigned and undated loan and security agreement

17                  documents which Debtor claimed JSC LLC gave to Debtor to document a

18                  security interest in the mobile home for the $225,000 loan and lien. Debtor

19                  claimed she then transferred her security agreement and lien to JP LLC so

20                  that JP LLC would be the lien holder of the unsigned and undated promissory

21                  note and security agreement and the receiver of JSC LLC’s repayments of the

22                  loan. Debtor never received anything from JP LLC for Debtor’s transfer of

23                  the promissory note and security agreement to JP LLC. Debtor then created

24                  and filed UCC lien documents in January 2019 and HCD lienholder

25                  paperwork in February 2021 in favor of JP LLC and, after Plaintiff and other

26                  creditors recorded their liens. Debtor falsely claimed that she filed HCD

27                  lienholder paperwork in August 2020. Debtor admitted there were never any

28                  loan payments made by JSC LLC to JP LLC. Debtor’s JSC LLC and JP LLC
                                                  24
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 1                      bank statements show there were never any loan repayments by JSC LLC to

 2                      JP LLC. Debtor created a false lien held by her alter-ego JP LLC on her

 3                      alter-ego JSC LLC’s mobile home asset in order to hinder, delay or defraud

 4                      Plaintiff and other creditors from collecting her debts.

 5           87.    In addition, on September 22, 2021, after her original and amended schedules

 6   were filed, Debtor suddenly amended her schedules again and added Debtor’s right to her

 7   reversionary interest in 4476 Alderport Unit 53 Sublease on Main Case DK 16, Schedule A/B

 8   Item 34.4. Debtor added it again to a new amended DK 22 Schedule A/B, Item 34.3. Debtor

 9   added it again to a new amended DK 37 Schedule A/B, Item 34.5 and on another amended DK

10   38 Schedule A/B, Item 34.5. In contrast to her bankruptcy schedules, Debtor testified in the 341

11   hearing to have sold her 4476 Alderport condominium Sublease to Mr. Nickel on October 31,

12   2018. In addition, in March of 2021, Mr. Nickel claimed he was entitled to his money back from

13   Debtor. Therefore, Debtor appears to have only temporarily transferred the asset “on paper” to

14   Mr. Nickel to hold for her until Debtor obtains a discharge of the Plaintiff’s civil judgment lien

15   through these Chapter 7 bankruptcy proceedings.

16           88.    As a direct and proximate result of Defendant’s false pretenses, false

17   representations, or actual fraud, Plaintiff has suffered damages in an amount that now exceeds

18   $60,000. Due to actual fraud carried out with the intent to hinder, delay or defraud Plaintiff, the

19   Defendant is therefore not entitled to have the Defendant’s civil judgment debt owed to Plaintiff

20   discharged in these bankruptcy proceedings.

21
             THIRD CAUSE OF ACTION FOR AN ORDER DENYING DISCHARGE
22
             PURSUANT TO 11. U.S. CODE § 727(a)(3) OF THE BANKRUPTCY CODE
23
                     (Against JAMIE LYNN GALLIAN and Does 1 through 100)
24
             89.    Plaintiff incorporates the previous paragraphs of this Complaint as if set forth in
25
     full.
26
             90.    Bankruptcy Code §727(a)(3) provides, in relevant part, that a debt may not be
27
     discharged if the debtor has “concealed, destroyed, mutilated, falsified, or failed to keep or
28
                                                       25
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 1   preserve any recorded information, including books, documents, records, and papers, from

 2   which the debtor’s financial condition or business transactions might be ascertained, unless such
 3
     act or failure to act was justified under all the circumstances of the case.” The Debtor answered
 4
     and admitted this allegation is true under Paragraph 90, Dockets 13-18.
 5

 6          91.     This requires debtors to "produce records that provide enough information to

 7   ascertain the debtor's financial condition and track his financial dealings with substantial

 8   completeness and accuracy for a reasonable period past to present." Union Planters Bank, N.A.
 9
     v. Connors, 283 F.3d 896, 899 (7th Cir. 2002). A creditor does "not need to prove that the
10
     debtor intended to defraud them in order to demonstrate a § 727(a)(3) violation." Peterson v.
11
     Scott (In re Scott), 172 F.3d 959, 969 (7th Cir. 1999) (quoting In re Juzwiak, 89 F.3d 424, 430
12
     (7th Cir. 1996)). The language of the statute "places an affirmative duty on the debtor to create
13

14   books and records accurately documenting his business affairs." Scott, 172 F.3d at 969

15   (citing Juzwiak, 89 F.3d at 429). “A creditor states a prima facie case under §727(a)(3) by
16   showing ‘(1) that that the debtor failed to maintain and preserve adequate records, and (2) that
17
     such failure makes it impossible to ascertain the debtor’s financial condition and material
18
     business transactions.’ ” In re Caneva, 550 F.3d 755, 761 (9th Cir. 2008), citing Landowne v.
19
     Cox (In re Cox), 41 F.3d 1294, 1296 (9th Cir. 1994) (quoting Meridian Bank v. Alten, 958 F.2d
20

21   1226, 1231 (3rd Cir. 1992)).

22
            92.     Prior to filing for bankruptcy and within days of state court’s award for
23
     Plaintiff’s attorney’s fees against Debtor, she created or became a sole owner or partial owner
24
     of three California limited liability companies, Alderport 4476 Co LLC, J-Sandcastle Co LLC
25

26   and J-Pad LLC. On April 20, 2021, a couple of months before filing her bankruptcy petition,

27   Debtor testified in the Association CUVTA collection case that JP LLC was a business that

28   sold cleaning products since 2018. On April 20, 2021, Debtor testified that JSC LLC owned a
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 1   mobile home. Debtor never explained or even mentioned that JP LLC owned a security lien

 2   on the JSC LLC mobile home asset, nor any information regarding deposits of funds into JSC
 3
     LLC nor JP LLC.
 4
             93.     In addition, prior to filing for bankruptcy, Debtor refused to comply with written
 5

 6   discovery requests for documents related to JSC LLC and JP LLC, as part of her court-ordered

 7   debtor’s examination, Orange County Superior Court, Case No. 2017-30-00913985, The

 8   Huntington Beach Gables HOA v. Bradley, Gallian et. al. Debtor further refused to comply with
 9
     the court-ordered debtor’s examination, claiming that if the state court required her to sit for her
10
     debtor’s exam, then Debtor would plead the 5th amendment against self-incrimination. The court
11
     still ordered Debtor to appear for her debtor’s exam. Instead of complying with the court’s order
12
     to appear, Debtor filed for bankruptcy protection after the court issued a warrant for Debtor
13

14   arrest related to her refusal to sit for her civil debtor’s examination.

15           94.     On July 9, 2021, Debtor initially scheduled on Schedule A/B and testified that
16
     she was the sole owner of JSC LLC, a California single member limited liability company.
17
     Debtor scheduled and testified that she was a 33.33% owner of JP LLC under Schedule A/B
18
     under her original (Main Case Dk 1) and her first amended (Main Case Dk 15).
19

20           95.     On August 18, 2021, Debtor testified under oath at her initial 341 hearing that
21
     she owned one-third of JP LLC. When Debtor was subsequently asked who owned the other
22
     two-thirds, Debtor responded “Well, depending on who you ask today, it’s Ron, myself, and
23
     Robert.” Based on this response, Debtor appeared to claim she owned 55.6% of JP LLC, even
24

25   though she had just testified that she owned one-third.

26
             96.     After the August 2021 341 hearing, Debtor filed her second amended Schedule
27
     A/B. Debtor changed and scheduled her JP LLC ownership interest to 1/7th (Maine Case Dks
28
                                                        27
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 1   16-17). At the next 341 hearing in October 2021, Debtor was asked several times to explain how

 2   the ownership of JP LLC changed. Debtor talked about JSC LLC and would not answer until
 3
     after several repeated questions. Debtor finally answered that the owners of JP LLC were “my
 4
     family members, myself, and Ron and Bob have a small portion”. Debtor would not give the
 5
     names of the owners and testified “I listed them on the petition as well.” However, Debtor did
 6
     not list them on her second amended Schedule A/B. Eventually, Debtor testified that the names
 7

 8   of JP LLC’s owners were “myself, my oldest son Justin, Steven, Brian, EJ, Bob and Ron.”

 9   Debtor was asked what percent of JP LLC she owned, and Debtor testified “It depends on what
10   day it is.”
11

12           97.   After the October 2021 341 hearing, Debtor filed a third amended Schedule A/B

13   in which Debtor changed and scheduled her JP LLC ownership interest to 70%. Shortly after

14   the November 10, 2021 341 hearing, Debtor filed a fourth amended Schedule A/B in which
15   Debtor changed and scheduled her JP LLC ownership interest to 33.33% (Main Case Dk 37).
16

17           98.   After Plaintiff filed and served Plaintiff’s First Amended Complaint which added

18   JP LLC and JSC LLC as additional defendants, Debtor terminated JSC LLC and JP LLC. Debtor

19   then amended her Schedule A/B again scheduling a new 100% ownership interest in both JSC
20   LLC and JP LLC without accounting for the change in the ownership percentages.
21

22           99.   Debtor testified in April 2021 that JP LLC was not wholly owned. Debtor filed

23   so many conflicting Schedule A/Bs for months and testified in a less than candid manner that

24   Debtor appeared to be playing a game of hide-n-seek regarding accurate ownership and
25   accounting information of Debtor’s JSC LLC and JP LLC. Debtor failed to produce any business
26
     records accounting for Debtor’s ownership interests or the operations of JSC LLC and JP LLC,
27
     including failing to produce an accounting of funds deposited and withdrawn by either JSC LLC
28
                                                   28
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 1   or JP LLC. After Plaintiff incurred months of expensive discovery, Debtor only filed a late

 2   Corporate Ownership Statement form on March 16, 2022 claiming she was the 100% sole owner
 3
     of the single member JP LLC and single member JSC LLC since October 18, 2018 (Docket 29).
 4
     Debtor continues to fail to provide any verifiable business ownership or operation records for
 5
     JSC LLC or JP LLC.
 6

 7          100.    In addition, Debtor has claimed in her bankruptcy documents provided to the

 8   Bankruptcy Trustee that she received two cashier’s checks from Mr. Nickel on October 30, 2018
 9
     payable to JP for a total of $379,000, and against on October 31, 2018 for a total of $379,000
10
     payable to Debtor. Debtor also claimed that the JP cashier’s checks were rescinded. However,
11
     since a bank’s rescission of a cashier’s check can take up to 90 days and Debtor did not provide
12
     proof of tracing those funds back to Mr. Nickel, Debtor appears to be hiding the funds from the
13

14   cashier’s checks in business or personal bank, life insurance or investment accounts since 2018.

15   The Debtor answered and admitted this allegation under the First Amended Complaint
16   Paragraph 94, Docket 6, is true under Debtor Answer Paragraph 94, Dockets 13-18.
17
            101.    On August 18, 2021 in her initial 341 hearing, Debtor testified under oath that
18
     she sold her 4476 Alderport Sublease to Mr. Nickel for $379,000. Debtor testified that she took
19
     $175,000 of the $379,000 to purchase a mobile home from Lisa Ryan. She testified she paid Lisa
20

21   Ryan with four cashier’s checks from her personal account in which she had deposited the

22   $379,000 from Mr. Nickel. Debtor testified that she never transferred money to JSC LLC for it

23   to purchase the mobile home. Debtor also testified that she used approximately $140,000 of the
24   $379,000 received from Mr. Nickel on October 18, 2018 for personal legal fees. In the initial
25
     341 hearing, Debtor was asked to produce the records to the Trustee showing the flow of the
26
     $379,000. Debtor never produced any records proving the flow of the $379,000.
27
            102.    Debtor admitted there was no purchase agreement with Lisa Ryan regarding the
28
                                                     29
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 1   purchase of the mobile home. Debtor was asked in her initial 341 hearing what documents exist,

 2   if any. Debtor testified that there were copies of cashier’s checks that she sent to the Trustee and
 3
     a handwritten note from Lisa Ryan when Debtor gave her the cash. Debtor produced four
 4
     cashier’s checks payable to Lisa Ryan, three for $50,000 each and one for $20,000; however,
 5
     Debtor did not provide any verifiable, independent proof from which account the four cashier’s
 6
     checks were obtained nor any proof of where the four cashier’s checks were cashed or deposited
 7

 8   into. Therefore, Debtor provided no verifiable, independent documentation regarding the

 9   purchase proceeds of the mobile home.
10          103.     In the first 341 hearing, Debtor testified that she loaned JSC LLC $225,000
11
     which was secured by a lien on the JSC LLC mobile home asset. Debtor subsequently testified
12
     that JP LLC was solely a lienholder of JSC LLC’s security note between JSC LLC and Debtor
13
     on the mobile home. Debtor testified that the sole purpose of Debtor’s alter-ego JSC LLC was
14

15   to be the title owner of a mobile home and JSC LLC pay JP LLC monthly payments on the JSC

16   LLC-Debtor security note, as the lien holder of JSC LLC security note, pursuant to an

17   amortization schedule. In her second 341 hearing, Debtor testified that she was working “with a
18   CPA to get a profit and loss as to where we actually are on that note, how close it is to being paid
19
     back.” Debtor never provided the name of the CPA or any independent, verifiable business
20
     documentation proving any receipts of funds or payment of funds made by Debtor’s alter-ego
21
     JSC LLC or JP LLC to anyone or any entity including between JSC LLC and JP LLC.
22

23          104.    In the second 341 hearing, Debtor testified that she also loaned $175,000 to JSC

24   LLC to pay “anything that came up and any legal fees, my car payment, you know”. On her

25   bankruptcy Schedule 107, Debtor scheduled payments she made to personal lawyers starting in
26
     2017 (Schedule 107, DK 1 Item 16, Schedule 107, DK 15, DK 16, DK 37, DK 38, DK 72 Item
27
     18). Debtor never provided any business or personal accurate accounting records that showed
28
                                                      30
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 1   that Debtor’s JSC LLC or Debtor paid the legal fees listed on Schedule 107, nor independent

 2   bank records verifying the payments despite creditor’s requests for such records starting months
 3
     before Debtor filed for Chapter 7 bankruptcy and in 341 hearings.
 4
             105.    Debtor admitted that she received at least $379,000 from Mr. Nickel and
 5
     admitted that JP LLC received $379,000 from Mr. Nickel. Despite multiple requests, Debtor
 6
     continued to fail to provide Plaintiff and the other creditors with independent, verifiable records
 7

 8   tracing the funds. Debtor went to great lengths to prevent creditors for learning the truth about

 9   her collectible assets. During collection efforts by Debtor’s creditors, Debtor’s deposition
10   testimony prior to filing for bankruptcy, her refusal to produce personal and business records,
11
     and her refusal to sit for her debtor’s exam to the point of a warrant issued for her arrest contrasts
12
     with the information Debtor scheduled on her multiple changing bankruptcy schedules and 341
13
     hearing testimony regarding Debtor’s and her JSC LLC’s and JP LLC’s assets, loans and
14

15   payments to third parties. Because Debtor concealed the true, verifiable information about her

16   personal and alter-ego business assets, Debtor failed to provide Plaintiff and the other creditors

17   with complete disclosure of verifiable records accurately documenting Debtor’s assets, debts and
18   transfers of assets to and from herself and her alter-egos JSC LLC and JP LLC since October
19
     2018. Debtor’s failure to provide accurate, verifiable records caused creditors to spend
20
     significant resources to discover this financial information. Therefore, Debtor should be denied
21
     discharge pursuant to 11 U.S.C §727(a)(3).
22

23              FOURTH CAUSE OF ACTION FOR AN ORDER DENYING DISCHARGE

24               PURSUANT TO 11 U.S. CODE § 727(a)(4) of THE BANKRUPTCY CODE

25                        (Against JAMIE LYNN GALLIAN and Does 1 through 100)

26           106.    Plaintiff incorporates the previous paragraphs of this Complaint as if set forth in

27   full.

28           107.    Pursuant to 11 U.S.C 727(a)(4)(A), a debtor shall not receive a discharge if “the

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 1   debt knowing and fraudulently, in or in connection with the case—made a false oath or

 2   account.” See Retz v. Samson (In Re Retz), 606 F.3d 1189, 1200 (9th Cir. 2010).
 3
             108.    Debtor signed her Chapter 7 Petition, Bankruptcy Schedules, Statements of
 4
     Financial Affairs and other documents filed with the Court under penalty of perjury,
 5
     acknowledging that the information provided therein was true and correct, even though she knew
 6
     some of the information provided was not true or correct.
 7

 8           109.    At her initial, August 18, 2021 341 hearing, under penalty of perjury, Debtor

 9   answered in the affirmative that she signed, read and was personally familiar with the petition,

10   schedules, state of financial affairs and related documents, and that there were no errors or

11   omission. Debtor nevertheless made several material omission and false oaths.

12           110.    First, Debtor provided the Trustee with Debtor’s purported claim under penalty

13   of perjury that Plaintiff is not one of Debtor’s victims under the Debtor’s criminal convictions,
14   Case No. 18WM05278. Further, Debtor claimed in her documents that Plaintiff’s recording of
15
     the criminal abstract of judgment issued by the Court in May 2021 was unlawful and a felony.
16
     This is a false oath, as no less than 3 different courts in 3 different motions or filings have all
17
     denied the Debtor’s claims prior to submitting this filing to the Bankruptcy Trustee as proof of
18

19   her claim that Plaintiff does not have a legitimate criminal restitution claim against the Debtor.

20   The Debtor answered Plaintiff’s First Amended Complaint and admitted this allegation is true in

21   Paragraph 100, Dockets 13-18.
22           111.    Second, on Debtor’s Schedule A/B in the Main Case, she stated under penalty of
23   perjury that she originally held a 33.33% interest in JP. However, in her initial 341 hearing
24   dated August 18, 2021, Debtor first testified that she owned 1/3rd of JP, but then stated she and
25   her ex-husband Ron and Bob, the man she lives with, own the other two-thirds of JP.
26   Subsequently, Debtor scheduled under penalty of perjury a change in ownership to a 1/7th
27   interest in JP on her amended Schedule A/B and as testified in her second October 14, 2021 341
28   hearing, naming herself, Debtor’s family members and friends. Debtor then amended her
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 1   Schedule A/B again changing her JP ownership interest to 70%. After that, Debtor amended her

 2   Schedule A/B again changing her JP ownership interest to 33.33%. Each amendment to her

 3   schedules was done without accounting for the change in interest/value. Despite requests by

 4   creditors, Debtor never provided any business records explaining any of the changes in her

 5   ownership interest. As provided in more detail in Paragraphs 92-99, supra, Debtor never filed a

 6   Corporate Ownership Statement until March 16, 2022 long after Plaintiff spent huge amount of

 7   time and resources on discovery of the Debtor’s JSC LLC and JP LLC. Therefore, Debtor made

 8   false oaths about her ownership interest in JP LLC on her bankruptcy schedules in order to

 9   hinder, delay or defraud Plaintiff and the other creditors.

10           112.    Third, Debtor claimed on her bankruptcy schedules that JP LLC’s sole asset was

11   holding a security lien on a promissory note on JSC LLC’s mobile home and then on her mobile

12   home which she transferred to herself after filing for Chapter 7 bankruptcy. However, this was a

13   false oath. Debtor sole documentation provided to the Trustee was an unsigned and undated

14   document that Debtor claimed was proof of her loan of $225,000 to her alter ego JSC LLC and

15   her assignment of her rights under the loan to her other alter-ego JP LLC. As described in

16   Paragraph 103, supra, Debtor further testified in her October 14, 2021 341 hearing that her CPA

17   would provide the creditors with her businesses’ profit and loss accounting statement to prove

18   the loan repayments. Only after Plaintiff spent months of time and resources on discovery,

19   Debtor admitted that JSC LLC never made any payments on the loan held by JP LLC. In

20   addition, the bank records show that Debtor transferred approximately $75,000 into JP LLC

21   which Debtor concealed while paying her criminal bail amounts, restaurants, personal credit

22   cards, and some legal fees at a time when she falsely claimed she was indigent in criminal court

23   in order to obtain a public defender and a public appellate attorney to represent her in OCSC

24   Case No. 18WM05278. In addition, the bank records show that Debtor withdrew JP LLC funds

25   in tens of thousands of dollars in cash and cashier’s checks without any business records and

26   which should have been properly accounted for. These omissions are false oaths, which were

27   intended to hinder and delay Plaintiff’s and other creditors from collecting debts. They are

28   material because they are relevant to debtor’s financial affairs and business dealings, which
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 1   Trustee must assess in order to properly administer the estate, including pursuing possible

 2   fraudulent transfer actions on behalf of the estate.

 3           113.    Fourth, Debtor scheduled a $7400 Fidelity IRA account balance on Schedule A/B

 4   in the Main Case (Schedule A/B, Item 21, DK 1, DK 16, DK 22, DK 37, DK 38, DK 39, DK 72)

 5   claiming all of it to be qualified retirement plan exempt assets when Debtor knew that

 6   approximately $7300 in her Fidelity IRA account came from her transfer of funds from JSC

 7   LLC, which originated from cashier’s checks from Mr. Nickel. Despite filing numerous

 8   amended bankruptcy schedules, Debtor never disclosed the truth about the funds she listed on

 9   Schedule A/B as Fidelity IRA qualified rollover funds. These false oaths are material because

10   they concealed collectible bankruptcy estate funds.

11           114.    Fifth, on Debtor’s statement of financial affairs (SOFA) filed in the Main Case,

12   she stated that she had not sold, traded, or otherwise transferred any property to anyone outside

13   the ordinary course of business within the past two years prior to bankruptcy. However, Debtor

14   appears to have engaged in a series of transfers of personal funds from Mr. Nickel between her

15   JSC LLC Chase account ending in #7860, her Fidelity IRA account, and her JP LLC Bank of

16   America account ending in #1274, as well as transfers of funds from her United Airlines 401k

17   plan to JSC LLC Chase account ending in #7860. Specifically, Debtor scheduled income from

18   her United Airlines 401k plan within 1 year of filing her original bankruptcy petition. Debtor

19   amended her schedules to claim that the 401k plan income was due to a defaulted 401k loan,

20   which, if true, meant that the 401k plan income was solely “on paper” without receiving a

21   distribution of cash. On Debtor’s amended her schedules, Debtor never disclosed that a little

22   more than $14,000 of the 401k plan income was directly transferred from her United Airlines

23   401k plan to her JSC LLC Chase account ending in #7860 on or about July 27, 2020. This false

24   oath is material because it conceals a fraudulent transfer of estates assets available for the

25   Trustee to pay the debts of the Debtor. Without knowledge of these transfers, Trustee would be

26   unable to pursue a fraudulent transfer action to recover assets benefit of the state and its creditor.

27           115.    Sixth, as detailed in Paragraph 102, supra, Debtor admitted she took $175,000

28   from $379,000 from Mr. Nickel and gave it to Lisa Ryan. Debtor then testified under oath that
                                                        34
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 1   she paid Lisa Ryan four cashier’s checks totaling $170,000 from Debtor’s personal account and

 2   gave the Trustee copies of the front of four Chase cashier’s checks that appear to match her

 3   testimony and schedules. After Plaintiff expended substantial fees for discovery to obtain bank

 4   records for the Debtor, Debtor’s alter-ego JSC LLC and alter-ego JP LLC from January 1, 2018

 5   through the date of the subpoenas, Plaintiff had to spend months searching through hundreds of

 6   pages of records and stacks of cashier’s checks that ultimately showed that Debtor only gave

 7   Lisa Ryan the three $50,000 cashier’s checks totaling $150,000 from Debtor’s newly opened

 8   JSC LLC’s Chase bank account ending in #7860 in November 2018. The bank records show that

 9   Debtor kept the $20,000 cashier’s check payable to Lisa Ryan and deposited it into Debtor’s

10   personal Chase account ending in #0186 in December 2018 and then Debtor transferred $18,000

11   of that amount into her JSC LLC Chase account ending in #7860 on the same day. Debtor

12   provided no proof and Plaintiff could not located any evidence that Lisa Ryan received any cash

13   from Debtor nor Debtor’s alter-egos JSC LLC or JP LLC. This false oath is material because it

14   conceals a fraudulent transfer of estates assets available for the Trustee to pay the debts of the

15   Debtor. Without knowledge of these transfers, Trustee would be unable to pursue a fraudulent

16   transfer action to recover assets benefit of the state and its creditor.

17           116.    Seventh, as detailed in Paragraph 86, supra, Debtor scheduled on Schedule 107

18   and testified that she paid $113,000 in personal legal fees. Debtor further testified in her October

19   14, 2021 341 hearing that she transferred $175,000 of $379,000 Mr. Nickel funds to JSC LLC to

20   pay her legal fees and other expenses. After Plaintiff incurred substantial expenses for discovery

21   to obtain bank records for the Debtor, Debtor’s alter-ego JSC LLC and alter-ego JP LLC from

22   January 1, 2018 through the date of the subpoenas, Plaintiff had to spend many weeks reviewing

23   hundreds of pages of records and analyzing stacks of cashier’s checks which totaled $355,000

24   that Debtor deposited into her alter ego JSC LLC Chase bank account ending in #7860. Plaintiff

25   also spent weeks reviewing the bank records to determine what amount, if any, was paid for

26   Debtor’s legal fees. Plaintiff located approximately $30,000 in legal fees and $2800 in court

27   transcript/costs paid by JSC LLC to Debtor’s personal attorneys and court case costs. Therefore,

28   Debtor’s scheduled attorney’s fees on her SOFA, original and amended Schedule 107
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 1   (Scheduled 107, DK 1 Item 16, Schedule 107, DK 15, DK 16, DK 37, DK 38, DK 72 Item 18)

 2   continue to be false oaths. These false oaths are material because they concealed collectible

 3   bankruptcy estate funds.

 4           117.    Eighth, Debtor states in her schedules that she has an unexpired ground lease

 5   allegedly involving Tract 10542, Unit 4, Lot 376 16222 Monterey Lane. Debtor’s allegation that

 6   the mobile home located at 16222 Monterey Lane, Space 376 is in Tract 10542 is a false oath.

 7   As Plaintiff provided in Exhibit 1, the Condominium Plan shows only condominiums in the

 8   Association are located in Tract 10542. There is a defaulted sublease between BS Investors and

 9   Debtor for the condominium, 4476 Alderport. Debtor then made another false oath alleging she

10   is entitled to California Covid Relief rent relief program funds based on Debtor’s lease

11   agreement with the owners of the mobile home park. However, Debtor admitted under penalty

12   of perjury on January 19, 2022 in her pleadings in the state court interpleader action, Houser

13   Bros. Co. v. Gallian, OCSC Case No. 30-2021-01236940, ROA #21, that Houser Bros. Co., the

14   mobile home park owner, denied Debtor’s application to rent a mobile home park space and

15   therefore never entered into a rental agreement with Debtor. Therefore, Debtor’s false oaths

16   regarding a non-existent mobile home park lease and covid relief rent monies are material

17   because these false oaths, along with the multiple false oaths enumerated above on her

18   schedules, indicate a pattern of intentional deceit on her schedules in order to hinder, delay or

19   defraud Plaintiff and the other creditors.

20           118.    Ninth, on Schedule A/B, Part 3, Item 8, Debtor initially scheduled that she did

21   not have any collectible items. In fact, Debtor has an extensive Lladro porcelain figurine

22   collection. Debtor amended her Schedule A/B, Part 3, Item 8, amended her schedules and

23   admitting she has 20 figurines, and then scheduling a fair market value of $1900 for the

24   collection. However, Debtor’s schedule claiming the twenty (20) figurines are only worth a total

25   of $1900 is a false (Schedule A/B, Item 8, Dk 15, Dk 16, Dk 22, Dk 37, Dk 38, Dk 72). Debtor

26   received at least seven (7) Lladro porcelain figurines from Sandra Bradley, who supplied a list

27   under penalty of perjury attached as an exhibit to Ms. Bradley request for an elder-abuse

28   restraining order against the Debtor, Bradley v. Gallian, OCSC Case No. 30-2017-00924559-
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 1   PR-OP-CJC, attached hereto as Exhibit 10. Ms. Bradley’s listed the purchase prices of these

 2   seven Lladro figurines, which total $12,520. Therefore, Debtor’s scheduled value of twenty (20)

 3   Lladro porcelain figurines at $1900 is a false oath that has never been cured by any of Debtor’s

 4   amended schedules. These false oaths are material because they concealed collectible

 5   bankruptcy estate assets.

 6            119.   Debtor made the foregoing omissions and false oath knowingly by acting

 7   deliberately and consciously. Debtor deliberately and consciously signed the schedules and

 8   statement of financial affairs knowing that the information provided was not completely true and

 9   correct. Thereafter, at her section 341 hearing of the creditors, Debtor testified under penalty of

10   perjury that there were no inaccuracies in her schedules or statement of financial affairs. This

11   supports a finding that Debtor acted knowingly in making the omissions and false oaths.

12            120.   According, Debtor is not entitled to a discharge pursuant to 11 U.S.C §727(a)(4).

13             FIFTH CAUSE OF ACTION FOR AN ORDER DENYING DISCHARGE

14           PURSUANT TO 11. U.S. CODE § 727(a)(5) OF THE BANKRUPTCY CODE

15                    (Against JAMIE LYNN GALLIAN and Does 1 through 100)

16            121.   Plaintiff incorporates the previous paragraphs of this Complaint as if set forth in

17   full.

18            122.   Bankruptcy Code §727(a)(5) provides, in relevant part, that a debt may not be

19   discharged if the debtor “has failed to explain satisfactorily, before determination of denial of

20   discharge under this paragraph, any loss of assets or deficiency of assets to meet the debtor’s

21   liabilities.”

22            123.   Debtor is not entitled to bankruptcy discharge because Debtor has failed to

23   explain satisfactorily, before determination of denial of discharge under this paragraph, any loss

24   of assets or deficiency of assets to meet the debtor’s liabilities.

25            124.   Debtor has failed to explain satisfactorily the purchase and series of transfers

26   involving the mobile home, 16222 Monterey Lane, Space 376, including but not limited to the

27   circumstances surrounding the alleged loan of $225,000 between JP, JSC, and Debtor for the

28   purchase of the mobile home. Debtor has further failed to explain the purported purchase sum of
                                                        37
                            SECOND AMENDED COMPLAINT – ADVERSARY PROCEEDING
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 1   $175,000 via four cashier’s checks payable to Lisa Ryan in a concealed transfer between

 2   Debtor’s alter-ego JSC LLC and Lisa Ryan, and specifically the loss of $20,000 from one of

 3   these cashier’s checks that Debtor kept for herself and could be used to pay Plaintiff’s

 4   judgments.

 5          125.    Debtor has failed to explain satisfactorily, namely produce any documentation,

 6   evidencing that there exists any lease agreement or that there exists any legal right to Covid

 7   relief rent program funds that may be assets available to pay creditors.

 8          126.    Debtor, as detailed in Paragraph 87, supra, has been unable to explain the terms

 9   of the purported sale of 4476 Alderport in October 2018, how much she sold 4476 Alderport for

10   and where the proceeds went, including any agreements between herself and the subsequent

11   purchaser for the return of the condominium to the Debtor and the Debtor’s reversionary interest

12   held in the condominium listed on Debtor’s Scheduled A/B that could be used to pay her

13   judgment debts.

14          127.    Debtor has made ever-changing claims regarding her ownership interest in her

15   alter-ego JP LLC, by filing multiple California Secretary of State Statements of Information
16
     since 2018, via deposition testimony, filing bankruptcy schedules and testifying in 341 hearings.
17
     After Plaintiff sued Debtor’s alter-egos JP LLC and JSC LLC, Debtor terminated these
18
     companies. Plaintiff spent thousands of dollars on discovery and months of work trying to
19
     analyze the hundreds of pages of financial records that showed the Debtor hid approximately
20

21   $75,000 in her JP LLC in order to gain public defenders and pay her bail for her arrests for

22   continuing to violate the restraining order protecting Plaintiff and my then 7-year-old daughter.
23   Debtor suddenly filed a late Corporate Ownership Statement under Docket 29 for the first time
24
     claiming that she was the sole owner of both JP LLC and JSC LLC since October 2018.
25
            128.    To date, the Debtor appears to have hidden and/or transferred away her personal
26
     assets to related entities or close associates created within days of incurring court judgments in
27

28   favor of Plaintiff and the Association. Debtor’s actions allowed Debtor to claim she was

                                                       38
                           SECOND AMENDED COMPLAINT – ADVERSARY PROCEEDING
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 1   indigent in order to obtain public defenders and public appellate attorneys for free for her

 2   criminal court cases. Debtor’s transfers of assets occurred without business records, without
 3
     purchase agreements, without valid lease agreements, and without transparent escrows to ensure
 4
     proper payment to secured creditors, including Plaintiff. Instead, Debtor claims on her original
 5
     and multiple amended SOFA, Schedule 107 (Scheduled 107, DK 1 Item 16; Schedule 107, DK
 6
     15, DK 16, DK 37, DK 38, DK 72 Item 18) to have spent over $100,000 on her personal legal
 7

 8   fees without providing any verifiable evidence of where those funds came from, to which

 9   attorney the funds were paid with verifiable payment receipts, despite Plaintiff and her other
10   creditors requesting the flow of the funds she received from Mr. Nickel in a purported concealed
11
     purchase of 4476 Alderport condominium Sublease. Debtor also failed to disclose on her
12
     original and amended SOFA, Schedule 107 (DK 1, DK 15, DK 16, DK 37, DK 38, DK 72,
13
     Schedule 107, Part 2, Item 5), that she transferred $14002.53 of personal funds to her alter-ego
14

15   JSC LLC from her United 401k plan within 1 year of filing her original petition, testified and

16   scheduled it as income “on paper” due to her defaulted 401k retirement plan loan and failed to

17   explain with verifiable bank and other business records what happened to those monies. Debtor
18   had no rent nor utility bills due to Debtor squatting in the JSC LLC’s mobile home in a mobile
19
     park without a rental agreement since November or December 2018. Debtor’s failure to explain
20
     the thousands of dollars withdrawn from of JP LLC, JSC LLC and Debtor’s personal bank
21
     accounts that should have been dedicated to the payment of her judgment debts should result in a
22

23   denial of discharge pursuant to 11 U.S.C. § 727(a)(5).

24          129.    As a result of her failure to explain satisfactorily material issues related to Debtor

25   deficiencies of assets held personally and through her alter-ego limited liability companies,

26   Debtor should be denied discharge pursuant to 11 U.S.C. § 727(a)(5).

27          //

28          //
                                                       39
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         EXHIBIT 3




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                                                   101 West Broadway, Suite 2000, San Diego, CA




    x




            December 7, 2018
                    San Diego, California



                          Jamie L. Gallian

                  5782 Pinon Drive
         Huntington Beach
                       CA 92649




x
                          2


    December 7, 2018



     Jeanne P. Farrar




                                             SAC EXHIBITS - 0107
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                                       COUNTY OF ORANGE
                                    CENTRAL JUSTICE CENTER
                                            MINUTE ORDER
DATE: 09/27/2018                     TIME: 01:30:00 PM                DEPT: C33
JUDICIAL OFFICER PRESIDING: James Crandall
CLERK: P. Rief
REPORTER/ERM: (ACRPT) Cheri Violette CSR# 3584
BAILIFF/COURT ATTENDANT: Julie Carney

CASE NO: 30-2017-00913985-CU-CO-CJC CASE INIT.DATE: 04/11/2017
CASE TITLE: The Huntington Beach Gables Homeowners Association vs. Bradley
CASE CATEGORY: Civil - Unlimited  CASE TYPE: Contract - Other

EVENT ID/DOCUMENT ID: 72875934
EVENT TYPE: Motion to Compel Response to Requests for Admissions
MOVING PARTY: The Huntington Beach Gables Homeowners Association
CAUSAL DOCUMENT/DATE FILED: Motion to Compel Answers to Request for Admissions, 08/23/2018
EVENT ID/DOCUMENT ID: 72875943
EVENT TYPE: Motion to Compel Answers to Special Interrogatories
MOVING PARTY: The Huntington Beach Gables Homeowners Association
CAUSAL DOCUMENT/DATE FILED: Motion to Compel Answers to Interrogatories Special, 08/23/2018
EVENT ID/DOCUMENT ID: 72875946
EVENT TYPE: Motion to Compel Answers to Form Interrogatories
MOVING PARTY: The Huntington Beach Gables Homeowners Association
CAUSAL DOCUMENT/DATE FILED: Motion to Compel Answers to Interrogatories Form, 08/23/2018
Additional events listed on last page.

APPEARANCES
Pejman D. Kharrazian, Esq., from Epsten Grinnell & Howell, APC, present for Cross -
Defendant,Plaintiff(s).
Jamie L. Gallian, self represented Cross - Defendant, present.
David R. Flyer, Esq., specially appearing.
Tentative Ruling posted on the Internet.

The court hears oral argument. The court, having fully considered the arguments of all parties, both
written and oral, as well as the evidence presented, now rules as follows: The Tentative Ruling, as
amended, will become the final ruling of the court. Plaintiff’s requests for sanctions as to the motions to
compel further responses are denied.
The court rules as follows:
1. Motion by Plaintiff The Huntington Beach Gables Homeowners Association for an Order to
Compel Responses to Form Interrogatories (Set One) from Defendant Jamie Gallian and Request




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DEPT: C33                                  SAC EXHIBITS - 0115                                Calendar No.
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 CASE TITLE: The Huntington Beach
                               Main Gables
                                     Document      CASE
                                              Page 116    NO: 30-2017-00913985-CU-CO-CJC
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 Homeowners Association vs. Bradley
for Sanctions:
Plaintiff The Huntington Beach Gables Homeowners Association’s unopposed Motion to Compel
Responses to Form Interrogatories and Imposition of Sanctions is GRANTED. (See Code Civ. Proc. §
2030.290, subd. (a)).
Defendant Jamie L. Gallian is ordered to serve verified responses without objections to Plaintiff’s Form
Interrogatories, Set No. One, within ten days. The court imposes monetary sanctions against Defendant
Jamie L. Gallian in the amount of $1,535.00, payable to counsel for Plaintiff within thirty days.
2. Motion by Plaintiff The Huntington Beach Gables Homeowners Association for an Order to
Compel Further Responses to Special Interrogatories (Set One) and Request for Sanctions:
The court GRANTS Plaintiff’s Request For Judicial Notice.
Plaintiff The Huntington Beach Gables Homeowners Association’s Motion to Compel Further Responses
to Plaintiff’s Special Interrogatories Set No. 1 is GRANTED. (See Code Civ. Proc. § 2030.300).
The court finds that Defendant is equitably estopped from asserting that the Plaintiff’s motions are not
timely filed, because these motions were initially timely filed, and ordered off calendar by the court in
reliance upon a settlement between the parties placed on the record before the court. Once it became
clear that defendant was unwilling to live up to the terms reached before the court, Plaintiff timely
renewed the motions.

Defendant Jamie L. Gallian is ordered to serve further, non-evasive responses to Plaintiff’s Special
Interrogatories Set No. 1 without objections within ten days.
The request for monetary sanctions against Defendant Jamie L. Gallian is denied.
3. Motion by Plaintiff The Huntington Beach Gables Homeowners Association for an Order to
Compel Responses to Request for Production of Documents (Set One) and Request for
Sanctions:
Plaintiff’s Request For Judicial Notice is GRANTED.
Plaintiff The Huntington Beach Gables Homeowners Association’s Motion to Compel Responses to
Inspection Demands and Imposition of Sanctions is GRANTED. (See Code Civ. Proc. § 2031.300, subd.
(a)).
Defendant Jamie L. Gallian is ordered to serve verified responses without objections to Plaintiff’s
Inspection Demand, Set No. One, which fully complies with Code Civ. Proc. § 2031.210(a), and all
responsive documents (whatever their source), within ten days.
The court also imposes monetary sanctions against Defendant Jamie L. Gallian in the amount of
$1,535.00, payable to counsel for Plaintiff within thirty days. (See Code Civ. Proc. § 2031.300, subd.
(h)).
4. Motion by Plaintiff The Huntington Beach Gables Homeowners Association for an Order to
Compel Further Responses to Request for Admissions (Set One) and Request for Sanctions:




DATE: 09/27/2018                             MINUTE ORDER                                        Page 2
DEPT: C33                               SAC EXHIBITS - 0116                                 Calendar No.
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                              Main Gables
                                    Document      CASE
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Homeowners Association vs. Bradley

Plaintiff The Huntington Beach Gables Homeowners Association’s Motion to Compel to Further
Responses to Plaintiff’s Requests For Admissions, Set No. 1, is GRANTED. (See Code Civ. Proc. §
2033.290).
The court finds that Defendant is equitably estopped from asserting that the Plaintiff’s motions are not
timely filed, because these motions were initially timely filed and ordered off calendar by the court in
reliance upon a settlement between the parties placed on the record before the court. Once it became
clear that defendant was unwilling to live up to the terms reached before the court, Plaintiff timely
renewed the motions.
Defendant Jamie L. Gallian is ordered to serve further, non-evasive responses to Plaintiff’s Requests
For Admissions Set No. 1 without objections within ten days.
The request for monetary sanctions against Defendant Jamie L. Gallian is denied.
Defendant’s request for imposition of monetary sanctions is denied.
Defendant to give notice.

A Mandatory Settlement Conference is scheduled for 10/05/2018 at 09:00 AM in Department C33.
Defendant Jamie L. Gallian’s oral Ex Parte Request to advance the hearing date on her Motion for
Judgment on the Pleadings, set for 12/13/2018, is granted.
The Motion by Defendant Jamie L. Gallian for Judgment on the Pleadings, set for 12/13/2018, is ordered
advanced to 12/06/2018 at 01:30 PM in this department.
Court orders defendant to give notice.




DATE: 09/27/2018                              MINUTE ORDER                                      Page 3
DEPT: C33                                SAC EXHIBITS - 0117                               Calendar No.
     Case 8:21-ap-01096-SC Doc 107 Filed 01/28/23 Entered 01/30/23 09:12:23 Desc
CASE TITLE: The Huntington Beach
                              Main Gables
                                    Document      CASE
                                             Page 118    NO: 30-2017-00913985-CU-CO-CJC
                                                      of 149
Homeowners Association vs. Bradley

ADDITIONAL EVENTS:

EVENT ID/DOCUMENT ID: 72875949
EVENT TYPE: Motion to Compel Production
MOVING PARTY: The Huntington Beach Gables Homeowners Association
CAUSAL DOCUMENT/DATE FILED: Motion to Compel Production/Inspection of Documents or Things,
08/23/2018




DATE: 09/27/2018                        MINUTE ORDER                                 Page 4
DEPT: C33                          SAC EXHIBITS - 0118                          Calendar No.
Case 8:21-ap-01096-SC   Doc 107 Filed 01/28/23 Entered 01/30/23 09:12:23   Desc
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         EXHIBIT 7




                             SAC EXHIBITS - 0119
              Case 8:21-ap-01096-SC                               Doc 107 Filed 01/28/23 Entered 01/30/23 09:12:23                                                         Desc
                                                                  Main Document   Page 120 of 149
                            Secretary of State                                                      LLC-12                                        19-A78778
                            Statement of Information
                            (Limited Liability Company)                                                                                            FILED
                                                                                                                                   In the office of the Secretary of State
 IMPORTANT — Read instructions before completing this form.                                                                               of the State of California

 Filing Fee – $20.00
                                                                                                                                                  FEB 26, 2019
 Copy Fees – First page $1.00; each attachment page $0.50;
             Certification Fee - $5.00 plus copy fees
                                                                                                                                   This Space For Office Use Only
 1. Limited Liability Company Name (Enter the exact name of the LLC. If you registered in California using an alternate name, see instructions.)
  J-PAD, LLC.
 2. 12-Digit Secretary of State File Number                                           3. State, Foreign Country or Place of Organization (only if formed outside of California)
                             201804010750                                               CALIFORNIA
 4. Business Addresses
 a. Street Address of Principal Office - Do not list a P.O. Box                                      City (no abbreviations)                                       State    Zip Code
 16222 Monterey Ln 376                                                                               Huntington Beach                                              CA       92649
 b. Mailing Address of LLC, if different than item 4a                                                City (no abbreviations)                                       State    Zip Code
 16222 Monterey Ln 376                                                                               Huntington Beach                                              CA       92649
 c. Street Address of California Office, if Item 4a is not in California - Do not list a P.O. Box    City (no abbreviations)                                       State    Zip Code
 16222 Monterey Ln 376                                                                               Huntington Beach                                               CA       92649
                                             If no managers have been appointed or elected, provide the name and address of each member. At least one name and address
                                             must be listed. If the manager/member is an individual, complete Items 5a and 5c (leave Item 5b blank). If the manager/member is
 5. Manager(s) or Member(s)                  an entity, complete Items 5b and 5c (leave Item 5a blank). Note: The LLC cannot serve as its own manager or member. If the LLC
                                             has additional managers/members, enter the name(s) and addresses on Form LLC-12A (see instructions).
 a. First Name, if an individual - Do not complete Item 5b                                           Middle Name                      Last Name                                         Suffix


 b. Entity Name - Do not complete Item 5a
  J-Sandcastle Co, LLC
 c. Address                                                                                          City (no abbreviations)                                       State    Zip Code
  16222 Monterey Ln 376                                                                              Huntington Beach                                              CA       92649
 6. Service of Process (Must provide either Individual OR Corporation.)
      INDIVIDUAL – Complete Items 6a and 6b only. Must include agent’s full name and California street address.
 a. California Agent's First Name (if agent is not a corporation)                                    Middle Name                      Last Name                                         Suffix
 Steven                                                                                                                              Gallian
 b. Street Address (if agent is not a corporation) - Do not enter a P.O. Box                         City (no abbreviations)                                       State    Zip Code
 821 W 16th Street                                                                                   Costa Mesa                                                     CA        92663
      CORPORATION – Complete Item 6c only. Only include the name of the registered agent Corporation.
 c. California Registered Corporate Agent’s Name (if agent is a corporation) – Do not complete Item 6a or 6b



 7. Type of Business
 a. Describe the type of business or services of the Limited Liability Company
 Residential Investments
 8. Chief Executive Officer, if elected or appointed
 a. First Name                                                                                       Middle Name                      Last Name                                         Suffix


 b. Address                                                                                          City (no abbreviations)                                       State    Zip Code


 9. The Information contained herein, including any attachments, is true and correct.

   02/26/2019                    Jamie l Gallian                                                                       Its Member
  _____________________            ____________________________________________________________                        _________________________     __________________________________
   Date                              Type or Print Name of Person Completing the Form                                   Title                          Signature
Return Address (Optional) (For communication from the Secretary of State related to this document, or if purchasing a copy of the filed document enter the name of a
person or company and the mailing address. This information will become public when filed. SEE INSTRUCTIONS BEFORE COMPLETING.)

Name:                                                                                                             
Company:

Address:
City/State/Zip:                                                                                                   

 LLC-12 (REV 01/2017)                                                        SAC EXHIBITS
                                                                                  Page 1 of 2- 0120                                                2017 California Secretary of State
                                                                                                                                                      www.sos.ca.gov/business/be
         Case 8:21-ap-01096-SC                 Doc 107 Filed 01/28/23 Entered 01/30/23 09:12:23                                 Desc
                                               Main Document   Page 121 of 149
                   Attachment to                                                                          19-A78778
                                                              LLC-12A
                   Statement of Information
                                                             Attachment
                   (Limited Liability Company)

A. Limited Liability Company Name
J-PAD, LLC.




                                                                                                  This Space For Office Use Only
B.   12-Digit Secretary of State File Number                C.   State or Place of Organization (only if formed outside of California)

                     201804010750                                                            CALIFORNIA


D. List of Additional Manager(s) or Member(s) - If the manager/member is an individual, enter the individual’s name and address.                If the
   manager/member is an entity, enter the entity’s name and address. Note: The LLC cannot serve as its own manager or member.

     First Name                                                    Middle Name               Last Name                                         Suffix


     Entity Name
Jamie L Gallian
     Address                                                       City (no abbreviations)                                  State        Zip Code
16222 Monterey Ln 376                                              Huntington Beach                                           CA       92649
     First Name                                                    Middle Name               Last Name                                         Suffix


     Entity Name


     Address                                                       City (no abbreviations)                                  State        Zip Code


     First Name                                                    Middle Name               Last Name                                         Suffix


     Entity Name


     Address                                                       City (no abbreviations)                                  State        Zip Code


     First Name                                                    Middle Name               Last Name                                         Suffix


     Entity Name


     Address                                                       City (no abbreviations)                                  State        Zip Code


     First Name                                                    Middle Name               Last Name                                         Suffix


     Entity Name


     Address                                                       City (no abbreviations)                                  State        Zip Code


     First Name                                                    Middle Name               Last Name                                         Suffix


     Entity Name


     Address                                                       City (no abbreviations)                                  State        Zip Code


     First Name                                                    Middle Name               Last Name                                         Suffix


     Entity Name


     Address                                                       City (no abbreviations)                                  State        Zip Code




LLC-12A -   Attachment (EST 07/2016)                      Page 2 of 2
                                                    SAC EXHIBITS     - 0121                                         2016 California Secretary of State
                                                                                                                       www.sos.ca.gov/business/be
Case 8:21-ap-01096-SC   Doc 107 Filed 01/28/23 Entered 01/30/23 09:12:23   Desc
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         EXHIBIT 8




                             SAC EXHIBITS - 0122
              Case 8:21-ap-01096-SC                               Doc 107 Filed 01/28/23 Entered 01/30/23 09:12:23                                                         Desc
                                                                  Main Document   Page 123 of 149
                            Secretary of State                                                      LLC-12                                        20-A11795
                            Statement of Information
                            (Limited Liability Company)                                                                                            FILED
                                                                                                                                   In the office of the Secretary of State
 IMPORTANT — Read instructions before completing this form.                                                                               of the State of California

 Filing Fee – $20.00
                                                                                                                                                  JAN 08, 2020
 Copy Fees – First page $1.00; each attachment page $0.50;
             Certification Fee - $5.00 plus copy fees
                                                                                                                                   This Space For Office Use Only
 1. Limited Liability Company Name (Enter the exact name of the LLC. If you registered in California using an alternate name, see instructions.)
  J-PAD, LLC.
 2. 12-Digit Secretary of State File Number                                           3. State, Foreign Country or Place of Organization (only if formed outside of California)
                             201804010750                                               CALIFORNIA
 4. Business Addresses
 a. Street Address of Principal Office - Do not list a P.O. Box                                      City (no abbreviations)                                       State    Zip Code
 16222 Monterey Ln #376                                                                              Huntington Beach                                              CA       92649
 b. Mailing Address of LLC, if different than item 4a                                                City (no abbreviations)                                       State    Zip Code
 16222 Monterey Ln #376                                                                              Huntington Beach                                              CA       92649
 c. Street Address of California Office, if Item 4a is not in California - Do not list a P.O. Box    City (no abbreviations)                                       State    Zip Code
 16222 Monterey Ln #376                                                                              Huntington Beach                                               CA       92649
                                             If no managers have been appointed or elected, provide the name and address of each member. At least one name and address
                                             must be listed. If the manager/member is an individual, complete Items 5a and 5c (leave Item 5b blank). If the manager/member is
 5. Manager(s) or Member(s)                  an entity, complete Items 5b and 5c (leave Item 5a blank). Note: The LLC cannot serve as its own manager or member. If the LLC
                                             has additional managers/members, enter the name(s) and addresses on Form LLC-12A (see instructions).
 a. First Name, if an individual - Do not complete Item 5b                                           Middle Name                      Last Name                                         Suffix
  Robert                                                                                                                             McLelland
 b. Entity Name - Do not complete Item 5a


 c. Address                                                                                          City (no abbreviations)                                       State    Zip Code
  21742 Anza Avenue                                                                                  Torrance                                                      CA       90503
 6. Service of Process (Must provide either Individual OR Corporation.)
      INDIVIDUAL – Complete Items 6a and 6b only. Must include agent’s full name and California street address.
 a. California Agent's First Name (if agent is not a corporation)                                    Middle Name                      Last Name                                         Suffix
 Robert                                                                                                                              McLelland
 b. Street Address (if agent is not a corporation) - Do not enter a P.O. Box                         City (no abbreviations)                                       State    Zip Code
 21742 Anza Avenue                                                                                   Torrance                                                       CA        90503
      CORPORATION – Complete Item 6c only. Only include the name of the registered agent Corporation.
 c. California Registered Corporate Agent’s Name (if agent is a corporation) – Do not complete Item 6a or 6b



 7. Type of Business
 a. Describe the type of business or services of the Limited Liability Company
 Residential Management
 8. Chief Executive Officer, if elected or appointed
 a. First Name                                                                                       Middle Name                      Last Name                                         Suffix


 b. Address                                                                                          City (no abbreviations)                                       State    Zip Code


 9. The Information contained herein, including any attachments, is true and correct.

   01/08/2020                    Jamie Lynn Gallian                                                                    Secretary
  _____________________            ____________________________________________________________                        _________________________     __________________________________
   Date                              Type or Print Name of Person Completing the Form                                   Title                          Signature
Return Address (Optional) (For communication from the Secretary of State related to this document, or if purchasing a copy of the filed document enter the name of a
person or company and the mailing address. This information will become public when filed. SEE INSTRUCTIONS BEFORE COMPLETING.)

Name:                                                                                                             
Company:

Address:
City/State/Zip:                                                                                                   

 LLC-12 (REV 01/2017)                                                        SAC EXHIBITS
                                                                                  Page 1 of 1- 0123                                                2017 California Secretary of State
                                                                                                                                                      www.sos.ca.gov/business/be
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         EXHIBIT 9




                             SAC EXHIBITS - 0124
              Case 8:21-ap-01096-SC                               Doc 107 Filed 01/28/23 Entered 01/30/23 09:12:23                                                         Desc
                                                                  Main Document   Page 125 of 149
                            Secretary of State                                                      LLC-12                                        20-A44402
                            Statement of Information
                            (Limited Liability Company)                                                                                            FILED
                                                                                                                                   In the office of the Secretary of State
 IMPORTANT — Read instructions before completing this form.                                                                               of the State of California

 Filing Fee – $20.00
                                                                                                                                                  JAN 29, 2020
 Copy Fees – First page $1.00; each attachment page $0.50;
             Certification Fee - $5.00 plus copy fees
                                                                                                                                   This Space For Office Use Only
 1. Limited Liability Company Name (Enter the exact name of the LLC. If you registered in California using an alternate name, see instructions.)
  J-SANDCASTLE CO, LLC
 2. 12-Digit Secretary of State File Number                                           3. State, Foreign Country or Place of Organization (only if formed outside of California)
                             201829810053                                               CALIFORNIA
 4. Business Addresses
 a. Street Address of Principal Office - Do not list a P.O. Box                                      City (no abbreviations)                                       State    Zip Code
 16222 Monterey Lane #376                                                                            Huntington Beach                                              CA       92649
 b. Mailing Address of LLC, if different than item 4a                                                City (no abbreviations)                                       State    Zip Code
 16222 Monterey Lane #376                                                                            Huntington Beach                                              CA       92649
 c. Street Address of California Office, if Item 4a is not in California - Do not list a P.O. Box    City (no abbreviations)                                       State    Zip Code
 16222 Monterey Lane #376                                                                            Huntington Beach                                               CA       92649
                                             If no managers have been appointed or elected, provide the name and address of each member. At least one name and address
                                             must be listed. If the manager/member is an individual, complete Items 5a and 5c (leave Item 5b blank). If the manager/member is
 5. Manager(s) or Member(s)                  an entity, complete Items 5b and 5c (leave Item 5a blank). Note: The LLC cannot serve as its own manager or member. If the LLC
                                             has additional managers/members, enter the name(s) and addresses on Form LLC-12A (see instructions).
 a. First Name, if an individual - Do not complete Item 5b                                           Middle Name                      Last Name                                         Suffix
  Ronald                                                                                             J                               Pierpont
 b. Entity Name - Do not complete Item 5a


 c. Address                                                                                          City (no abbreviations)                                       State    Zip Code
  16222 Monterey Lane #376                                                                           Huntignton Beach                                              CA       92649
 6. Service of Process (Must provide either Individual OR Corporation.)
      INDIVIDUAL – Complete Items 6a and 6b only. Must include agent’s full name and California street address.
 a. California Agent's First Name (if agent is not a corporation)                                    Middle Name                      Last Name                                         Suffix
 Steven                                                                                              A                               Fink                                               Esq.
 b. Street Address (if agent is not a corporation) - Do not enter a P.O. Box                         City (no abbreviations)                                       State    Zip Code
 13 Corporate Plaza Dr. Ste.150                                                                      Newport Beach                                                  CA        92660
      CORPORATION – Complete Item 6c only. Only include the name of the registered agent Corporation.
 c. California Registered Corporate Agent’s Name (if agent is a corporation) – Do not complete Item 6a or 6b



 7. Type of Business
 a. Describe the type of business or services of the Limited Liability Company
 Residential Management
 8. Chief Executive Officer, if elected or appointed
 a. First Name                                                                                       Middle Name                      Last Name                                         Suffix
 Ronald                                                                                              J                                Pierpont
 b. Address                                                                                          City (no abbreviations)                                       State    Zip Code
 16222 Monterey Lane #376                                                                            Huntignton Beach                                               CA      92649
 9. The Information contained herein, including any attachments, is true and correct.

   01/29/2020                    Jamie Lynn Gallian                                                                    Secretary
  _____________________            ____________________________________________________________                        _________________________     __________________________________
   Date                              Type or Print Name of Person Completing the Form                                   Title                          Signature
Return Address (Optional) (For communication from the Secretary of State related to this document, or if purchasing a copy of the filed document enter the name of a
person or company and the mailing address. This information will become public when filed. SEE INSTRUCTIONS BEFORE COMPLETING.)

Name:                                                                                                             
Company:

Address:
City/State/Zip:                                                                                                   

 LLC-12 (REV 01/2017)                                                        SAC EXHIBITS
                                                                                  Page 1 of 2- 0125                                                2017 California Secretary of State
                                                                                                                                                      www.sos.ca.gov/business/be
         Case 8:21-ap-01096-SC                 Doc 107 Filed 01/28/23 Entered 01/30/23 09:12:23                                 Desc
                                               Main Document   Page 126 of 149
                   Attachment to                                                                          20-A44402
                                                              LLC-12A
                   Statement of Information
                                                             Attachment
                   (Limited Liability Company)

A. Limited Liability Company Name
J-SANDCASTLE CO, LLC




                                                                                                  This Space For Office Use Only
B.   12-Digit Secretary of State File Number                C.   State or Place of Organization (only if formed outside of California)

                     201829810053                                                            CALIFORNIA


D. List of Additional Manager(s) or Member(s) - If the manager/member is an individual, enter the individual’s name and address.                If the
   manager/member is an entity, enter the entity’s name and address. Note: The LLC cannot serve as its own manager or member.

     First Name                                                    Middle Name               Last Name                                         Suffix


     Entity Name
J-Pad, LLC
     Address                                                       City (no abbreviations)                                  State        Zip Code
16222 Monterey Lane #376                                           Huntington Beach                                           CA       92649
     First Name                                                    Middle Name               Last Name                                         Suffix
Steven                                                             D                         Gallian
     Entity Name


     Address                                                       City (no abbreviations)                                  State        Zip Code
16222 Monterey Lane #376                                           Huntignton Beach                                           CA        92649
     First Name                                                    Middle Name               Last Name                                         Suffix
Justin                                                             D                         Barclay
     Entity Name


     Address                                                       City (no abbreviations)                                  State        Zip Code
16222 Monterey Lane #376                                          Huntington Beach                                            CA       92649
     First Name                                                    Middle Name               Last Name                                         Suffix
Brian                                                              J                         Gallian
     Entity Name


     Address                                                       City (no abbreviations)                                  State        Zip Code
16222 Monterey Lane #376                                           Huntignton Beach                                           CA        92649
     First Name                                                    Middle Name               Last Name                                         Suffix


     Entity Name


     Address                                                       City (no abbreviations)                                  State        Zip Code


     First Name                                                    Middle Name               Last Name                                         Suffix


     Entity Name


     Address                                                       City (no abbreviations)                                  State        Zip Code


     First Name                                                    Middle Name               Last Name                                         Suffix


     Entity Name


     Address                                                       City (no abbreviations)                                  State        Zip Code




LLC-12A -   Attachment (EST 07/2016)                      Page 2 of 2
                                                    SAC EXHIBITS     - 0126                                         2016 California Secretary of State
                                                                                                                       www.sos.ca.gov/business/be
Case 8:21-ap-01096-SC   Doc 107 Filed 01/28/23 Entered 01/30/23 09:12:23   Desc
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         EXHIBIT 10




                             SAC EXHIBITS - 0127
Case 8:21-ap-01096-SC   Doc 107 Filed 01/28/23 Entered 01/30/23 09:12:23   Desc
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                             SAC EXHIBITS - 0128
Case 8:21-ap-01096-SC   Doc 107 Filed 01/28/23 Entered 01/30/23 09:12:23   Desc
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                             SAC EXHIBITS - 0129
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                             SAC EXHIBITS - 0130
Case 8:21-ap-01096-SC   Doc 107 Filed 01/28/23 Entered 01/30/23 09:12:23   Desc
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                             SAC EXHIBITS - 0131
Case 8:21-ap-01096-SC   Doc 107 Filed 01/28/23 Entered 01/30/23 09:12:23   Desc
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                             SAC EXHIBITS - 0132
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                             SAC EXHIBITS - 0136
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                             SAC EXHIBITS - 0137
Case 8:21-ap-01096-SC   Doc 107 Filed 01/28/23 Entered 01/30/23 09:12:23   Desc
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                             SAC EXHIBITS - 0138
Case 8:21-ap-01096-SC   Doc 107 Filed 01/28/23 Entered 01/30/23 09:12:23   Desc
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                             SAC EXHIBITS - 0139
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                             SAC EXHIBITS - 0140
Case 8:21-ap-01096-SC   Doc 107 Filed 01/28/23 Entered 01/30/23 09:12:23   Desc
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                             SAC EXHIBITS - 0141
Case 8:21-ap-01096-SC   Doc 107 Filed 01/28/23 Entered 01/30/23 09:12:23   Desc
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                             SAC EXHIBITS - 0142
Case 8:21-ap-01096-SC   Doc 107 Filed 01/28/23 Entered 01/30/23 09:12:23   Desc
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                             SAC EXHIBITS - 0143
Case 8:21-ap-01096-SC   Doc 107 Filed 01/28/23 Entered 01/30/23 09:12:23   Desc
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                             SAC EXHIBITS - 0144
Case 8:21-ap-01096-SC   Doc 107 Filed 01/28/23 Entered 01/30/23 09:12:23   Desc
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                             SAC EXHIBITS - 0145
Case 8:21-ap-01096-SC   Doc 107 Filed 01/28/23 Entered 01/30/23 09:12:23   Desc
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                             SAC EXHIBITS - 0146
Case 8:21-ap-01096-SC   Doc 107 Filed 01/28/23 Entered 01/30/23 09:12:23   Desc
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                             SAC EXHIBITS - 0147
Case 8:21-ap-01096-SC   Doc 107 Filed 01/28/23 Entered 01/30/23 09:12:23   Desc
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                             SAC EXHIBITS - 0148
Case 8:21-ap-01096-SC   Doc 107 Filed 01/28/23 Entered 01/30/23 09:12:23   Desc
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